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F (Part1) Pagei1of77

EXHIBIT F
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F (Part 1) Page 2 of 77

MIRICK O’CONNELL
ATTORNEYS AT LAW
100 FRONT STREET
WORCESTER, MASSACHUSETTS 01608-1477
508-791-8500 FAX 508-791-8502
FED, EMPLOYMENT LD. NO. XX-XXXXXXX

Joseph H. Baldiga, Chapter 7 Trustee Date 11/10/14
Chapter 7 Trustee : Invoice Number ****%**
c/o Mirick, O'Connell, DeMallie & Lougee

100 Front Street

Worcester, MA 01608-1477

15008 Joseph H. Baldiga, Chapter 7 Trustee . 139 Baldiga

Matter # Matter Name Services Disbursements
14190 Direct Air (Southern Sky Air & Tours, LLC) 1054,268.00 © $38,924.65
1054, 268.00 $38,924.65

Total Services and Disbursements. ........... . . . 1093,192.65
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Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

TASK: 0001 Adversary Proceeding

Attorney Summary’ Hours Value Rate

343 bcasacel Brian M. Casac 3.00 555.00 185.00

152 PWC Paul W. Carey 1.30 481.50 370.38

166 CED Christine E, Devine 0.20 74.00 370.00

139 JHB Joseph H. Baldiga 244 .30 93,996.50 384.76

290 goneil Gina B. O'Neil 180.60 44,246.00 244.99

255 cbhorourk Cori B. O’Rour 78.30 14,872.00 189.94

281 jemurphy Jessica E. Mur 645.50 RRKKKR EK KK 254.16

011 JOM John O. Mirick 22.10 8,894.50 402.47

162 RBG Robert B. Gibbons 9.80 3,670.00 374.49

304 mrfisher Matthew R. Fis 0.60 126.00 210.00

274 kmdellec Kimberly M. De 21.40 3,898.00 182.15

325 kfoley Kate Foley 4.60 874.00 190.00

070 LAK Laura A. Keeler 1.00 190.00 190.00

TYPE 0001 TOTAL 1,212.70 335,935.00

Time Detail Hours Value

04/11/12 goneil 0001 Review materials from former tax counsel 0.20 48.00
including recovery investigation information.

04/12/12 JHB ooo1 Lengthy call with Attorney Braunstein, Mr. 1.30 494.00

Talbert regarding recovery, asset, record
issues and background (.7); begin review of
related issues and materials and strategies for
investigation (.6).
04/13/12 JHB 0001 Call from A.G.'s office regarding case issues 1.80 684.00
(.3); review additional documents and issues
regarding funds and potential assets (1.1);
related calls to Attorneys Seder, Moorman (.2)
and emails from Attorney Braunstein (.2).
04/19/12 JHB 0001 Continue review of case materials regarding VNB 1.40 532.00
account and craft related email to all parties
regarding possible abandonment (1.1); related
emails from Attorneys Seder, Reier (.3).
04/19/12 goneil OOOL Review Trustee’s memorandum regarding possible 0.50 120.00
abandonment of Debtor's claims to Valley
National Bank escrow account (.1); consider
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MIRICK, O'CONNELL

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Invoice. Number ******

Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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impact on estate and email Trustee regarding
same (.3); review interested parties’ responses
(.1).

Call with Attorney Moorman regarding Radixx
records and investigation (.3); related calls
with Sky King and counsel (.4); Attorneys.
Braunstein and Russell (.3); creditor counsel
(.3) regarding fund investigation; review
related case materials (.4).

Telephone call with Attorney Moorman (Radixx)
regarding client capabilities to provide data
(.3); follow-up email regarding same (.2).
Continued attention to investigation and fact
gathering regarding VNB account including
review of additional case materials (.6), calls
and emails with Attorneys Braunstein and
Russell (.4), Attorneys Reier (.6) and Moorman
(.3), lengthy conference call with Radixx, Jet
Pay, Merrick representatives and their counsel
(1.1); call and emails to Attorney Sternklar
for VNB (.4); call with Attorney Fixler for
former managers (.2).

Emails with Attorney Moorman to schedule call
with Radixx (.2).

Telephone calls with V&L regarding case
background and V&L's possible role to assist
with case (.2).

Telephone call with V&L regarding server
imaging and records preservation (.1); email
Trustee regarding same (.2); emails with
Debtors’ counsel for IT contact information
(.1).

Additional emails with Debtor’s counsel and V&L
to coordinate site visit and IT information
(.4); emails with Debtor's counsel regarding
personal property on site (.2); emails with V&L
group to coordinate computer imaging, shipping,
and retrieval of on-line accounting records
(.4).

Strategy with Trustee regarding escrow account
and related analysis (.2); review Trustee’s
document request to Valley National Bank (.1).
Strategy and planning regarding contents of
Motion for Rule 2004 exam.

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Joseph H. Baldiga, Chapter 7 Trustee
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Conference call with Radixx, Jet Pay, and
Merrit Bank group regarding data capabilities
and escrow account investigation action (.9);
follow-up with Trustee regarding planning for
same (.2).

Continued attention to record retrieval, site
visit issues, strategies including multiple
emails and conference calls.

Emails with Attorney Sternklar regarding VNB
records, issues (.3) continue review of case
materials regarding custodial accounts (.8);
related creditor inquiries and strategies
regarding next steps (.3).

Multiple emails and telephone calls with
Trustee and V&L team regarding shipping
records, logistics, and planning for site
visit.

Lengthy conference call with Attorney Haworth
(VNB), Ms. Bley regarding custodial account
issues and needed records (.8), review case
issues and materials regarding same (.6),
several calls and emails with Attorney Barbieri
regarding on site investigation and record
retrieval and retention (.9), conference cail
with same and Ms. Bley (.4); related emails
with Mssrs. Felton, Jalbert (.4); call, emails
from surety bond counsel (.4) and begin review
of related bond materials (.3).

Travel from Boston to Myrtle Beach for site
visit; review creditor and lease counter-party
names while en route in preparation for site
visit.

Meet with Myrtle Beach Airport staff to view
and assess airport space, equipment, records
and inventory remaining at airport premises.
Access storage unit and conduct a preliminary
review of flight back-up records contained
therein.

Access headquarters site and conduct
preliminary review of space and records
contained therein (.5); meet with Tom Lowe
(former HR Director) and Pat Smalls (former
Station Operations Director) regarding on-site
records and business generally (1.0); telephone

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MIRICK, O’ CONNELL F (Part 1) Page 6 of 77 Page 5

Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

call and emails with Trustee regarding records
strategy (.5); box up relevant on-site records
and create detailed log of same (4.5);
telephone calls with counsel to Radixx and with
V&L in order to assess capabilities of Radixx
system and, thus, what additional records to
take (.5); meet with property manager to
coordinate records shipping (.2).
04/27/12 goneil 0001 Conference call with Trustee, V&L, and Valley 1.00 240.00
National Bank regarding escrow account (.5);
follow-up call with Trustee and V&L regarding
strategy for records and recovery (.5).
04/27/12 goneil 0001 Create list of names for Motion for Rule 2004 1.00 240.00
examination with information culled from
on-site records.
04/28/12 goneil 0001 Address logistics and move flight back-up 6.00 1,440.00
, records from storage unit to headquarters site
and log same for movers (3.0); box up remaining
on-site records and create detailed log of same

(3.0).

04/28/12 goneil 0001 Inventory remaining hard assets from storage 0.50 120.00
unit and on site at headquarters.

04/28/12 goneil 0001 Return rental car, check box of legal records, 5.00 1,200.00

and travel to Boston from Myrtle Beach
(including pick-up of checked records) .

04/29/12 JHB 0001 Review additional escrow issues and materials 0.30 114.00
and email to Attorney Reier regarding same.
04/30/12 JHB 0001 Lengthy conference call with Attorneys Boyd, 4.00 1,520.00

Fixler and Ms, Bley regarding previous
management, escrow shortfall (.9) and review
related materials and issues in preparation for
same (.6); emails with Attorney Raftery
regarding Keilman involvement and 5/1 call
(.3); continued attention to investigation ad
records issues and resolution of property of
estate, and related calls with Attorney Reier,
McGee, Ms. Bley (1.1); calls and emails with TD
Bank counsel regarding account closure and
recovery (1.1).
04/30/12 goneil ooo1 Telephone call with M. Felton regarding Radixx 0.50 120.00
information and Quickbooks payment (.2);
address recurring charges to maintain online
account (.3).
04/30/12 goneil 0001 Follow up regarding site visit to Myrtle Beach, 0.90 216.00
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MIRICK, O’ CONNELL

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Joseph H. Baldiga, Chapter 7 Trustee
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document log, inventory, and legal records
brought back (.8); review Verdolino & Lowey's
document log (.1).

Review and consider emails regarding R.
Keilman’s involvement in case.

Conference call with counsel for Kay and
Stanley Ellison, and Judy Tull regarding former
managers’ impressions of case, defenses, and
document requests (.8); follow up with Trustee
regarding call and assessment of same (.2).
Meeting with Trustee regarding records
preservation and site visit (.3); telephone
call with Verdolino & Lowey regarding records
preservation (.1).

Review additional issues and materials
regarding VNB custody account and short fall
(.6); related call and emails with Attorney
Reier (.4); review related records and
corporate bankruptcy materials in preparation
for conference call with Mr. Keilman, Attorney
Raftery and VLPC and participate in same (2.1);
follow up calls and emails with VLPC, begin
review of new materials from Attorney Raftery
and Haworth (1.1), and strategize regarding
2004 exam motion (.3).

Review 4th Circuit decision regarding Stanley &
Kay Ellison fraud.

Strategy regarding document requests for 2004
Motion (.1); prepare draft 2004 Motion
including description of multiple categories of
parties (2.5).

Review emails regarding airport issues and PFC
escrow charges.

Emails with Trustee regarding R. Keilman’s
possible bankruptcy (.1); prepare for call with
R. Keilman and counsel by reviewing materials,
gathering information regarding R. Keilman’s
role with company, and preparing/providing
memorandum to Trustee and Verdolino &. Lowey
regarding R. Keilman (1.0); Conference call
with R. Keilman, counsel, Trustee, and
Verdolino & Lowey regarding R. Keilman’s role
in company, 2011 sale of shares, and escrow
short fall, etc. (1.0).

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

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Telephone call with Quickbooks/Intuit to
attempt to transfer account (.3); email Trustee
regarding same (.1); email Attorney Rafferty
for R. Keilman’s log-in information (.1);
review P. Bley email summarizing Verdolino &
Lowey assessment of Quickbooks information
(.1).

Strategy with Verdolino & Lowey regarding
investigation, records, and impressions of
information gleaned from call with R. Keilman
(.5); additional strategy with Trustee
regarding same (.2).

Attend to multiple emails from Attorney
Rafferty attaching complete closing binder from
September 2011 sale.

Review emails from Attorney Haworth (Valley
National Bank) and attend to extensive
electronic production of account statements and
other documents from Valley National Bank.
Multiple calls and emails with counsel to Jet
Pay, Amex, VNB, DOT, UST, AG’s office regarding
asset investigation and recovery and possible
abandonment and update regarding information
compilation and retrieval (2.1); related emails
with Attorneys Raftery, Hober and Boyd (.6);
begin review of documents from Attorney Haworth
and Boyd (.8); related emails with Ms. Bley
(.2).

Lengthy call with DOT counsel regarding
possible abandonment, claim administration.
Review email from Attorney Rafferty attaching
sale documents regarding escrow shortage..
Strategy regarding records maintenance.

Review secondary analysis of company’s
Quickbooks accounting.

Revise and augment Motion for Authority to
Conduct Rule 2004 Examinations.

Review Trustee’s email to Valley National Bank
parties regarding suspension of work absent
agreement (.1); follow up with Trustee
regarding next steps (.2); review additional
emails between Trustee and Bank regarding
status of investigation (.2).

Telephone call with Attorney Hall (Wells Fargo)

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15008 Joseph H. Baldiga, Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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regarding assets, possible carve out for asset
sales, and Wells Fargo’s possible interest in
Valley National Bank’s escrow account (.2);
email Trustee regarding same (.2); consider
Wells Fargo’s possible interest in bond
proceeds (.1) and telephone call to Attorney
Hall regarding same (.1).

Begin review of term sheet from Jet Pay counsel
regarding VNB funds and implications of bonds,
liens; begin formulation of response.

Begin review of schedules (.6); review open
Quickbooks, records issues and strategies (.3).
Emails with L. Gay (Verdolino & Lowey)
regarding access to premises to retrieve
records.

Review and consider proposed term sheet
regarding Estate’s role in Escrow Account
investigation,

Review and revise Motion for Authority to
Conduct Rule 2004 Examination (1.0); attention
to preparation of Exhibit/Party list with
contact information (.2).

Attend to newly-filed Schedules and review
portions of same.

Review message from Quickbooks representative
regarding materials necessary to switch account
(.1); consider steps to comply (.1); email M.
Felton for necessary information (.1).

Review email from Attorney Haworth attaching
Valley National Bank agreements, compare to
agreements listed on Schedules, and respond to
Attorney Haworth to request confirmation
regarding specific disclosed agreement.
Continued attention to VNB funds and
investigation including review of proposed term
sheet and related emails with Attorneys Reier
and McGee (.6), begin review of various
agreement (.8), research and analysis regarding
property of the estate (.7).

Review additional schedules and SOFA and
related emails with debtor counsel.

Emails with M. Felton regarding information for
Quickbooks response (.1); attend to preparing
response for Quickbooks regarding changing

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Invoice Number ******

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administrator (.2); review and revise package
of materials designed to change Quickbooks
account administrator (.4); additional
attention to and stategy for same (.2).

Review email from Attorney Haworth (Valley
National Bank) regarding "master" agreement
(.1); attend to service agreements (.1).
Cross-check and locate additional party contact
information for Rule 2004 Motion.

Discuss with Trustee research regarding credit
card processing escrow account as property of
the estate (.1); review Department of
Transportation Regulations regarding public
charter’s depository account (.3); review
interested parties’ arguments that escrow
account funds are non-estate property (.2);
research airline-industry-specific case law
regarding whether Debtor’s escrow account is
property of estate (1.6).

Draft and compile Trustee’s letter request and
package to Quickbooks Online regarding changing
Master Administrator (1.8); implement edits to
and finalize Trustee’s letter request and
package to Quickbooks regarding changing Master
Administrator (.5); email Quickbooks
representative regarding Trustee’s letter
request to change Master Administrator (.1).
Continue review of agreements, research
regarding VNB account, property of estate and
bond issues.

Continued research and analysis, contract
review regarding nature of VNB account
(property of estate; liability issues) (2.1);
review and revise proposed disposition
agreement from Attorney Reiek and emails with
same (1.1); related emails with VLPC (.3).
Emails with Mr. Felton regarding computer
issues and disposition (.1), address related
abandonment issues (.1).

Discussion regarding allocation agreement and
terms; review agreement and listing of assets.
Telephone call to and from Bankruptcy Court to
determine price/timing of obtaining transcript
of conversion hearing, prepare letter to

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Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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Bankruptcy Court requesting same.

Address Verdolino & Lowey’s request for M.
Baldwin passwords in order to obtain bank
statements (.2); email M. Baldwin regarding
same (.1).

Review and revise Inventory List of boxes from
headquarters site.

Review sale binder from September 2011 sale of
membership interests.

Augment list of parties and contact information
for service with Motion for 2004 Exam.

Follow up emails with Attorneys Braunstein,
Russell regarding schedules, litigation.
Review email from M. Baldwin regarding bank
records (.1); emails with Trustee regarding
same (.1);

Review and respond to message from Quickbooks
regarding changes to account (.2); review
instructions for Master Administrator change
(.1); open Quickbooks account and coordinate
master administrator transfer with M. Felton
(Verdolino & Lowey) (.3).

Finalize 2004 Motion and exhibit of parties for
Trustee’s review.

Assist with information regarding corporate
status.

Emails with Attorneys Reier, Hall regarding VNB
account, Jet Pay stay motion, continuance
proposal and related investigation issues and
strategies. .

Review messages regarding Valley National Bank
funds and Jet Pay Motion for Relief, including
emails from Valley National Bank counsel
regarding Valley National Bank’s possible
interest in funds.

Review and comment on proposed continuance
motion and related emails with Attorneys Reier,
McGee (.4); review open discovery issues and
strategies regarding same (.3).

Review and investigate memoranda regarding
founders’ involvement with new aviation
company.

Review emails regarding Jet Pay Motion for
Relief and continuance of hearing.

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
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Review latest revised continuance from Attorney
Reier and related emails with Attorney Reier,
McGee.

Review; revise draft 2004 motion and review
related notice, investigation issues.

Emails with Attorney Handel regarding account
investigation, DOT issues.

Strategy regarding service of 2004 motion and
coordinate revisions to service list in
connection with same.

Review and revise additions to service list in
connection with those parties included in 2004
motion.

Incorporate Trustee’s suggested edits into
Motion for Rule 2004 Exams, including to draft
new sections for surety bond and additional
creditors (.9); address notice issues,
including to ensure all 2004 Parties are named
(.4); telephone call with Trustee to attend to
final strategy regarding same (.2).

Review transcript of 4/11/12 conversion hearing
as part of recovery investigation.

Track receipt of transcript of hearing from
Janice Russell Transcripts; strategy regarding
transcript and CD; calendar for receipt of
partial refund.

Attention to file for hearing on 2004 motion.
Plan for coverage of 7/18 continued JetPay
Motion.

Attention to production of conversion hearing
transcript.

Implement Trustee’s final suggested edits into
Motion for Authority to Conduct Rule 2004
Examinations (.3); finalize Motion (.1); review
and revise Certificate of Service and Exhibit A
to ensure cohesiveness (.5); finalize pakage
for filing (.1).

Review Court’s Order granting expedited
determination of Motion for Authority to
Conduct 2004 Exams (.1); ensure service
"forthwith" of same (.4); track hearing and
objection deadline (.1).

Review transcript of 4/11 conversion and JetPay
hearing and consider additional information

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15008 Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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needed from Debtor and others to fully assess
issues raised.

Multiple inquiries from Rule 2004 exam
parties/counsel (.3) and assess next steps on
investigations (.3).

Assist with efiling of certificate of service
regarding endorsed order regarding 2004 motion;
calendar ahead and update control sheet
accordingly.

Emails with Attorney S. Nickless (.2), McGee
(.1); call with Attorney Nickless (.2)
regarding Rule 2004 exams, Valley National Bank
investigation,

Attention to returned mail regarding 2004
motion and supplemental certificate of service
for re-service of same.

Follow up regarding 2004 Motion (.1);
strategize regarding conducting examinations
upon approval (.1).

Address appearance of counsel to Hank Torbert
in case and review emails regarding extension
of time to respond to 2004 Motion.

Review Rule 2004 motion and supporting
documents to plan regarding investigation.
Emails with Attorney Reier (.2), review account
disposition strategies (.1).

Review electronic mail from Brian Hall
requesting VNB account agreements.

Review and consider Hank Torbert’s Response to
Trustee’s Motion for Authority to Conduct Rule
2004 Examinations, identify limitations
inconsistent with Trustee’s motion and prepare
memorandum to Trustee regarding same (.4);
telephone call with Trustee to strategize
regarding response to/clarification of 2004
Request (.2).

Prepare Statement (I) regarding 2004 Motion and
(II) regarding Mr. Torbert’s Response.

Review email and respond to Attorney Hall
(Wells Fargo) regarding Valley National Bank
account documents and 2004 examinations.
Review and revise statement regarding 2004 exam
motion (.2); related inquiries from named
parties, counsel (.6).

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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Conference with litigation team regarding
transfer negotiation and next steps.

Finalize Statement regarding 2004 Motion and
Response to Hank Torbert.

Develop general litigation strategy.

Telephone call from Attorney Haber regarding
2004 Motion and investigation (.2); email
Trustee regarding same (.1).

Review and address email from M. Whitehouse
(Verdolino & Lowey) with list of bank
statements needed.

Lengthy call with Attorney Handel regarding
Valley National Bank and bond funds, claim
resolution.

Bmail to Attorneys Reier, McGee regarding
Valley National Bank resolution (.1); related
call with Attorney Seder (.1).

Call from Attorney Boyd regarding asset, Valley
National Bank issues.

Review emails between Trustee and Department of
Transportation regarding status of negotiations
regarding Valley National Bank account.
Preparation for, participation in hearing on
Rule 2004 exam motion, and related discussions
with Attorneys King, Nickless, Doherty.

Calls, emails to Attorneys Reier, McGee, King
regarding Valley National Bank account
investigation and recovery.

Strategy and preparation for hearing on Motion
to Conduct Rule 2004 Examinations (.9); prepare
for 2004 hearing (.7); travel to and from Court
for hearing(.4); represent Trustee at hearing
on 2004 Examinations (.4); discussions with
counsel to H. Torbert to schedule examination
and narrow issues (.2).

Review email from Attorney Boyd and attachment
"Exhibit F" (escrow account information) to
sale package.

Review and address Verdolino & Lowey email with
updated list of bank statements needed (.1);
review follow up email requesting additional
statements (.1).

Lengthy calls with former employees regarding
use of escrow funds (.8); related emails with

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Attorneys Reier, McGee (.3); begin work on
abandonment notice (.2).

Review messages regarding abandonment of
interest in Valley National Bank account and
strategize with Trustee regarding same (.2);
review notice rules in anticipation of same
(.1).

Lengthy call with Attorney Reier regarding VNB
account issues and potential agreement (.6),
preparation for and follow up emails regarding
same (.4); related email to Ms. Bley, Mr.
Jalbert (.2).

Emails to Attorney Reier, Mr. Jalbert regarding
VNB issues.

Review emails regarding Trustee’s role
regarding Valley National Bank accounts.
Emails with Attorney Reier regarding VNB
account issues and status, and planning for 6/1
call.

Emails with Attorney Reier regarding VNB
account issues (.1) and preparation for 6/1
call (.2).

Review status of possible abandonment of VNB
account and calendar ahead regarding same.
Lengthy call with Attorney Reier regarding VNB
account investigation and recovery issues and
potential agreement (.7); follow up analysis,
document review and emails with litigation team
(.3).

Conference with Attorney King regarding account
investigation, recovery issues and strategies.
Emails with Attorneys Martin, Reier regarding
VNB account, case issues (.3); preparation for
conference call with counsel to Merrick bank
(.3); participate in lengthy call with same
(.7) and follow up emails with litigation team
and analysis regarding next steps (.4).

Emails with Attorneys Haber (.2), Reier (.2)
regarding VNB issues.

Email to Attorney Martin (.1), call with
Attorney Haber (.3), review issues for 6/13
creditors meeting (.2) all regarding VNB
account.

Lengthy call with former employees (2x)

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regarding account issues.

Call with Attorney Reier regarding status of
account negotiations.

Conference with Attorney McGee (.2), email with
Attorney Reier (.1) regarding VNB
investigation,

Emails with Merrick Bank counsel (multiple) and
related call with Attorney Reier regarding
investigation/recovery issues (.4), related
emails with Attorney Handel for DOT (.2) and
related call with Mr. Italia regarding DOT
subpoena (.3); begin review of term sheet and
assess strategies for next steps (.4).

Review and revise and circulate term sheet
(1.1); lengthy conference call with counsel to
Merrick Bank, Amex (1.0); follow up analysis,
strategies (.2).

Lengthy call from Attorney Boyd regarding VNB
account, financial issues, Avondale and related
investigation (.6); follow-up emails regarding
same (.2).

Emails with Attorney Boyd regarding Avalon
closing, opinion issues (.3); review next steps
for abandonment, investigation (.2).

Review bank statements regarding fund
disposition.

Lengthy negotiations with Merrick Bank counsel
(1.4) and follow up emails with litigation team
(.3). ,

Review memorandum from Trustee regarding status
of Valley National Bank negotiations.

Call with Merrick Bank counsel regarding terms
of agreement’ (.2), review related issues for
investigation (.2).

Emails with Attorneys Gurfein, Brock regarding
VNB issues (.2) and begin review of revised
term sheet (.2).

Continue review and revisions regarding revised
term sheet and review related issues,
_strategies and case materials.

Further revisions to term sheet (.8); lengthy
conference call with Attorneys Gurfein and
Brock regarding same (.9); review abandonment
options (.3).

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Chapter 7 Trustee

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Review and consider term sheet regarding Valley
National Bank account with Trustee’s suggested
revisions.

Continue assessment of VNB agreement v.
abandonment, and craft and revise lengthy email
to opposing counsel regarding same.

Review memoranda between Trustee and Valley
National Bank group regarding account fund
negotiations.

Further research, document review regarding
disposition of Valley National Bank account and
claims.

Multiple emails with VNB counsel (.3), Merrick
counsel (.2), related research and analysis
(.4).

Review memoranda regarding status of
negotiations regarding Valley National Bank
account.

Strategies regarding Valley National Bank
abandonment and related research regarding
property of estate (.6); related emails with
Valley National Bank, Merrick counsel (.3).
Emails with Merrick, Jet Pay counsel regarding
VNB issues for 7/3 conference call.

Review memoranda between Trustee and bank
parties regarding negotiations to administer
Valley National Bank account (.2); strategy
with Trustee regarding Notice of Abandonment
and contents thereof (.3); compile materials
necessary to draft Notice of Abandonment (.3).
Preparation for, participation in lengthy
conference call with Jet Pay/Merrick counsel
(Attorney Reier, Brock, Gurfein) (1.1), follow
up emails (.3) and abandonment analysis (.2).
Review periodic updates regarding status of
negotiations (.2); review Trustee’s summary of
7/3 conference call (.1).

Further negotiations with Merrick/Jet Pay
counsel regarding VNB agreement.

Commence drafting Notice of Abandonment
regarding Valley National Bank funds.

Multiple emails with Merrick, Jet Pay counsel
regarding VNB issues and agreement.

Review memoranda between Trustee and Valley

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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National Bank group regarding new direction of
negotiations and likely settlement regarding
Valley National Bank funds.

Call from Attorney Boyd regarding VNB asset
issues (.3); email with Merrich/Jet Pay
attorneys regarding term sheet, 7/18 hearing
(.2).

Review electronic mail from trustee regarding
strategy regarding continuance of hearing on
Jet Pay’s stay motion,

Review extension motion (JetPay) and related
emails with Merrick, JetPay counsel regarding
same and term sheet.

Continue review of term sheet.

Review emails regarding status of JetPay
hearing (.1); review Motion to Continue Hearing
on JetPay’s Motion for Relief (.1).

Continue analysis of term sheet and attention
to 7/18 hearing issues.

Finalize revisions to term sheet and circulate
for Merrick, JetPay and Amex counsel.

Review Pacer docket to determine if motion
filed to continue hearing regarding Jet Pay and
report results of same to trustee.

Confirm coverage of continued hearing on
JetPay’s Motion for Relief.

Review correspondence from Trustee regarding
updated term sheet (.1); cross-check bank
account numbers and ascertain correct numbers
(.4); memorandum to Trustee regarding same
(.2).

Prepare for, participate in conference call
with Attorneys Gurfien, Reier regarding term
sheet, approval issues (.8); follow up
regarding approval motion (.2).

Review additional comments to term sheet from
other parties.

Review terms of Term Sheet regarding escrow
account (.2); telephone call with Attorney
Reir, Attorney Gurfein, and Trustee to finalize
term sheet (.2); strategize with Trustee
regarding Motion to Approve Settlement (.2).
Review and make final revisions to revised term
sheet and related emails with Attorneys Reier,

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Gurfein (.6); related emails with litigation
team, Mr. Jalbert (.3).

Review memoranda regarding status of term sheet
and agreement.

Emails with Attorney Gurfein regarding
agreement issues and status.

Review memos regarding timing of investigation.
Research and analysis regarding privilege,
joint litigation issues (.8); review next
steps, open issues regarding VNB investigation
(.2).

Emails with Attorney Gurfein regarding VNB
agreement status, abandonment (.2); calls and
emails with Agent Italia regarding same (.4).
Review emails regarding status of Agreement
approval.

Preparation for (.3) and participation in (1.2)
meeting with agents for DOT and TRS regarding
VNB issues and investigation; emails, call with
Attorney Gurfein regarding agreement and next
steps for approval (.3).

Emails with VLPC regarding VNB investigation.
Review emails regarding acceptance of Agreement
and strategize regarding steps to approval.
Continued attention to VNB investigation,
agreement issues and strategies for approval
(.4), related emails with Attorney Gurfein
(.2), Mr. Jalbert (.2). .

Consider issues regarding limitation of notice
in context of Agreement approval.

Draft Motion to Approve Agreement regarding
Valley National Bank Accounts (3.3); research
public charter depository account regulations
in furtherance of same (1.0).

Attention to finalizing and execution of term
sheet regarding Agreement and email Trustee
regarding same.

Multiple emails with various counsel (to
Merrick, Jet Pay, DOT) regarding VNB motion,
DOT issues and call on 8/6.

Review questions from A. Handel about the
Agreement.

Continue drafting Motion to Approve Agreement
regarding Escrow Proceeds.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Follow up regarding Agreement issues and
Department of Transportation response.

Draft motion to limit notice regarding motion
to approve agreement regarding debtor's
accounts at Valley National Bank; review and
revise same.

Review, revise, and augment draft Motion to
Approve Agreement Regarding Escrow Account and
finalize same for Trustee’s review (2.2);
review and revise proposed Order (.1); compile
exhibits (.2); finalize package for Trustee's
review (.3).

Draft portions of Motion to Limit Notice
related to notifying unreimbursed charter
participants of the Agreement regarding Escrow
Account.

Preparation for DOT conference call regarding
VNB agreement (.5), related call with Attorneys
Brock, Gurfein (.5), participate in conference
call with same and DOT (.9) and follow up
analysis, document review (.3); related call
with Attorney Reier (.2).

Assist with Motion to Limit Notice.

Review additional case materials and issues in
preparation for 8/9 conference call (.6);
related email to parties regarding same and
related bond issues (.2); several emails with
Attorney O’Neil regarding PFC charges and
question of right to pursue (.3).

Review memorandum regarding status of Platte
River bond.

Review and revise Motion to Limit Notice.
Continued emails with Attorneys McGee, Gurfein,
and Brock both pre and post Department of
Transportation call regarding Valley National
Bank terms (.8); review charter regulations and
Valley National Bank agreements regarding
issues raised by Department of Transportation
(.4); participate in all party Department of
Transportation call (.6) and begin revisions to
approval motion (.3).

Confer with Trustee regarding status of
Agreement (.1); update and revise Motion to
Approve (.3); finalize approval package for

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Trustee’s review (.1).

Review emails regarding changes to term sheet.
Further research regarding possible defenses to
VNB pursuit.

Multiple emails with Attorneys Brock, Gurfein,
McGee regarding open VNB/DOT issues and
strategies.

Review JetPay’s newly-filed Proof of Claim.
Continued emails with Attorneys Gurfin, Brock,
McGee regarding VNB agreement, DOT issues.
Continued emails with Attorneys Gurfein, Brock,
McGee, Handel regarding VNB agreement terms and
issues for 8/20 conference call (.6); related
emails with VNB counsel (.2); review open
approval, DOT issues (.2). :
Review memos regarding status of Agreement.
Emails with Attorneys Sternklar and Haworth
(.2), call with Attorney Boyd (.1) regarding
VNB update, issues.

Emails with Attorney Reier regarding VNB,
retention and 8/20 call issues.

Review open DOT issues and continue work on
agreement, motion.

Continue work on approval motion (.2) and
review emails form Attorneys McGee, Hendel
regarding agreement terms (.2).

Substantial work on approval motion for VNB
agreement.

Continue revisions to Valley National Bank
agreement approval motion, order and multiple
emails with Attorneys Brock, Gurfein, McGee and
Department of Transportation counsel regarding
chargeback and agreement issues.

Review status of Agreement and Motion to
Approve.

Emails with Attorneys Brock, Gurfein regarding
Valley National Bank addendum (.2); work on
approval pleadings and related issues (.3).
Review and edit updated Motion to Approve
Agreement regarding Valley National Bank
Accounts (.3); consider options and logistics
to get continued JetPay’s Motion for Relief
(either separately or in connection with
Agreement approval) and prepare a memorandum to

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Trustee outlining same (.4); confer with
Trustee and further update Motion to Approve
Agreement to reflect continuance of JetPay
Motion for Relief (.4).
08/31/12 JHB 0001 Review and revise modified approval motion 1.00 385.
(.4); revise addendum, and related emails with
counsel to credit card parties (.6).
08/31/12 goneil 0001 Review memos regarding term sheet additions; 0.40 98.
finalize draft Motion to Approve Agreement and
send to parties for review.
09/04/12 JHB 0001 Review revisions to addendum, term sheet, 1.80 693.
incorporate same, further revisions, and
related emails with DOT counsel and counsel to
credit card parties.
09/04/12: goneil 0001 Review memos from AMEX and Department of 0.10 24.
: Transportation counsel regarding Agreement and
term sheet.
09/04/12 goneil 0001 Review JetPay/Merrick’s comments on Motion to 0,20 49,
Approve Agreement (.1); review Trustee’s
response regarding same (.1).
09/05/12 JHB 0001 Continued rounds of revisions, emails with 1.40 539.
various counsel regarding VNB addendum,
approval pleadings (1.1); related attention to
Posternak retention issues and emails with
Attorney Reier regarding same and regarding
JetPay continuance (.3).
09/05/12 kmdellec 0001 Update service list as to ECF/Pacer; prepare 0.40 72.
certificate of service regarding motion to
approve agreement regarding Valley National
Bank accounts and motion to limit.

09/05/12 goneil 0001 Review emails regarding status of Agreement and 0.10 24.
. term sheet.
09/06/12 JHB. 0001 Another round of revisions to approval motion 1.80 693.

and related call with Attorney Gurfein, call to
Attorney McGee (.7); circulate revised motion,
order to DOT and other parties, receive DOT
consent, review open notice issues, revise
motion to limit same and review final issues
for filing all pleadings (1.1).
09/06/12 JHB 0001 ‘Review JetPay continuance motion and related 0.20 77.
‘ emails with Attorney Reier.

09/06/12 goneil 0001 Review memos regarding Agreement, approval of 1.40 343.

same, and continuance of JetPay Motion for
Relief (.1); coordinate with Trustee regarding

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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signature pages and agreement approval package
in anticipation of filing (.4); update Motion
to Limit Notice and corresponding Order to
conform to updated Motion to Approve Agreement
(.8); review memos with Department of
Transportatioon regarding approval of Motion
format (.1).

Further emails with various parties regarding
VNB agreement (.3), review open filing, notice
issues (.3).

Review datatable/service list to conform
service list to motion to limit notice
regarding VNB accounts.

Review revisions and finalize Motion to Limit
Notice of Motion to Approve Agreement (.2);
attention to Certificate of Service (.1);
emails with Attorney McGee to follow up
regarding AMEX’s signature on Term Sheet (.2);
review and revise Certificate of Service and
attend to issues with service list (.2).

Final review and revisions to VNB approval
pleadings and review open service issues (.6);
related emails with Attorneys Gurfein, Brock
(.2).

Assist with efiling/service of trustee’s motion
for order (1) approving agreement regarding
debtor’s account at Valley National Bank and
(2) extending claim bar date for Charter
participants to January 15, 2013; update
control sheet accordingly.

Compile final Valley National Bank Agreement
approval package, including executed Term Sheet
and Addendum, and confer with Trustee regarding
same; attend to conforming service list/notice
parties and confirm local rules regarding same;
finalize and file approval package.

Emails with Attorney Haworth, Sternklar
regarding VNB motion, issues, 9/18 conference
call.

Track order allowing motion to limit notice
regarding approval motion regarding VNB
accounts.

Review agreement, background materials in
preparation for conference call with VNB

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14190 Direct Air (Southern Sky Air & Tours, LLC)

counsel (.6); pre-conference call call with
counsel to credit card companies (.4);
conference call with same and VNB counsel (.6)
and follow up discussions, emails and document
: review regarding same (.7).
09/18/12 kmdellec 0001 Forward copy of proposed order regarding VNB 0.10 18.
accounts in Word format to Attorneys Sternklar
and Haworth via electronic mail.
09/18/12 goneil 0001 Conference call with Valley National Bank 0.60 147.
settlement parties and counsel to Valley
National Bank regarding pending settlement
motion and turnover of funds (.4), including
preparation for (.1) and follow up (.1) from
same.
09/19/12 JHB 0001 Emails with counsel group regarding VNB 0.70 269.
recovery issues and strategies (.3); lengthy
call from Mr. Italia at DOT regarding same

(.4).

09/19/12 goneil 0001 Review memos regarding possible strategies to 0.10 — 24
address turnover issues.

09/20/12 JHB 0001 Lengthy calls from Attorney Sternklar regarding 0.60 231.
VNB agreement, investigation, funds. ,

09/21/12 JHB 0001 Emails, call and conference with Attorneys 1.30 500.

Sternklar regarding agreement issues, proposed
changes and related case issues (.8); emails
with group counsel, Attorney Handel regarding
same (.3); review response extension motion
(.2).
09/21/12 goneil 0001 Review memos between Trustee and Valley 0.10 24.
National Bank’s counsel regarding proposed
language to resolve Valley National Bank’s
objections to Agreement.

09/23/12 JHB 0001 Review proposed VNB language for order and 0.30 115.
emails with counsel group regarding same.
09/24/12 JHB 0001 Emails with group counsel regarding VNB 1.10 423

revisions to order (.3), revise and transmit
same to Attorney Sternklar (.3), lengthy call
with same regarding agreement issues (.3),
update emails to group counsel, Attorney Handel
(.2).

09/24/12 goneil 0001 Review emails regarding resolution of Valley 0.10 24.

National. Bank objections to Agreement Approval
Motion,

09/25/12 JHB 0001 Calls and emails with Attorney Sternklar and 1.50 S77.

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Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

group counsel regarding VNB agreement, offer to
release funds (1.1); calls with Chartis
regarding investigation; VNB issues and related
call with Attorney Gurfein regarding same (.4).
Review and consider proposal from Attorney
Sternklar for delivery of Valley National Bank
funds (.2); conference call with credit card
parties regarding Valley National Bank's
proposal (.4); telephone call with Attorney
Sternklar regarding same (.2); confer with
Trustee regarding next steps (.1).

Revise VNB extension motion and related emails
with VNB counsel (.3); emails with group
counsel regarding resolution parameters,
strategies (.3).

Review Valley National Bank’s 2nd Motion to
Extend Objection deadline.

Call, emails with Attorneys Reier, Gurfein
regarding VNB resolution, proposal.

Emails with group counsel regarding Reier
retention, negotiations with VNB.

Review memorandum from Attorney Reier regarding
negotiations for Valley National Bank (.1);
review emails regarding agreement approval
status and Posternak retention status (.1).
Further emails with group counsel regarding VNB
counterproposal, agreement and resolution
issues and strategies.

Review memos regarding status of negotiations
with Valley National Bank.

Emails with counsel group regarding VNB fund
resolution, extension request (.3), related
conference with Attorney McGee (.2); lengthy
call from Attorney Novak regarding insurance
dispute with Merrick, investigation issues
(.4).

Continued negotiations with counsel group
regarding VNB terms, and review further
extension motion (.4); related emails with
Attorney Sternklar (.1).

Further call with Attorney Novack regarding
Chartis/VNB issues. .

Emails with Attorney Sternklar, group counsel
regarding VNB agreement, extension and

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14190 Direct Air (Southern Sky Air & Tours, LLC)

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negotiations.

Research regarding standing, subrogation (.6);
call from Attorney Boyd regarding
investigation, examination issues (.3); emails
with Attorney Sternklar, group counsel
regarding VNB funds, pending motion and
resolution parameters (.4).

Review memorandum from Attorney Reier regarding
contract analysis.

Continued emails with group counsel regarding
VNB resolution, investigation (.3), review next
steps (.2).

Review Court’s Order approving Valley National
Bank Agreement, check docket, and review and
respond to memos regarding prematurity of Order
(.2); review emails from Attorney Reier

“announcing settlement with Valley National Bank

for turnover of Escrow Account Funds (.1);
telephone call with Bankruptcy Court regarding
hearing scheduling and email group regarding
same (.3); review emails with Department of
Transportation regarding new Agreement with
Valley National Bank (.1).

Continued emails with Attorneys Handel,
Sternklar and counsel group regarding VNB
resolution, Jet Pay motion and related issues
and strategies.

Review Jet Pay withdrawal motion and emails
with Attorney Reier regarding same (.3); emails
with group counsel regarding VNB terms and
motion, approval issues (.2); emails with
litigation team regarding parameters,
strategies for investigation (.2).

Review memos from Trustee regarding resolution
with Valley National Bank and next steps for
investigation (.1); review JetPay’s Motion to
Withdraw Motion for Relief (.1).

Call, emails with Agent Italia, VL group
regarding investigation, document review (.4);
review, revise draft agreement regarding
agreement with VNB and related emails with
Attorneys Reier, Gurfein and Brock (.8).
Review Amex changes to VNB agreement and
related issues regarding resolution, approval.

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Emails with Agent Italia, VL regarding
investigation, document issues.

Emails with Agent Italia, VL regarding
investigation, document and computer issues.
Emails with group counsel regarding revisions
to VNB agreement, approval issue.

Call, emails with Agent Italia regarding
investigation issues and coordination (.3);
emails with group counsel regarding VNB
agreement revisions (.2).

Review revised VNB agreement and emails with
group counsel regarding same.

Review memos regarding status of new agreement.
Emails with Attorney Sternklar, group counsel
regarding VNB agreement and review open issues
regarding same (.2), begin compilation of
issues and materials regarding investigation
(.6).

Continue review of case materials in
preparation for 11/1 investigation meeting with
litigation team.

Call with Attorney Sternklar (.2), emails with

group counsel, Attorney Handel (.2) regarding
open VNB issues.

Continue review of case materials for
investigation.

Emails with Attorney Sternklar and group
counsel regarding fund turnover agreement (.2);
review options (.1).

Continued emails with Attorney Sternklar, group
counsel regarding turnover agreement,
investigation.

Review memoranda regarding status of agreement.
Continue review of file materials for
investigation.

Review proposed revisions to turnover agreement
from Attorney Sternklar and conference call
with group counsel regarding same.

Review memoranda regarding draft agreement
revisions and response to same.

Strategize regarding options for providing
notice of Agreement to consumers.

Emails with group counsel, Attorney Handel
regarding VNB agreement, notice issues and

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strategies (.4); review related agreement,
account materials regarding same. (.2),

Review notice issues, DOT publication issues
and related emails with group counsel, Attorney
Handel. /

Review memoranda regarding notice of Valley
National Bank Agreement and consider
alternatives regarding same. .
Review revisions to VNB stipulation, order and
convey comments (.6), review comments from
Merrick counsel and comment on same (.3);
related emails with Attorneys Reier, Sternklar
(.2).

Review memoranda regarding revised Valley
National Bank Agreement and proposed Order.
Review additional revisions from counsel group
to stipulation, order, and related strategies
for resolution, approval (.4); emails with
counsel group regarding same (.2).

Review further revisions to VNB stipulation,
order, and emails with group counsel, review
claim issues and implications regarding same.
Emails with group counsel regarding Valley
National Bank issues and strategies, and
related calls with Attorneys Gurfein, Brock and
Attorney Sternklar regarding same (.9); review
related revisions, release issues (.3).

Review memoranda regarding status of agreement.
Review memorandum regarding information to
include in subpoenas for credit card
information.

Continued attention to VNB agreement revisions,
notice issues, and related emails with group
counsel.

Continued discussion of settlement terms,
revisions, DOT support and notice with group
counsel (.6), and review additional revisions
(.2).

Review memoranda regarding notice.

Multiple emails, call with Attorney Reier
regarding VNB issues (.8); call with Mssrs.
Klugh, Trapasso regarding VNB issues, subpoena
(.3).

‘Emails with group counsel regarding VNB issues,

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notice.

Review memoranda regarding Bank information
needed for claims.

Emails with Mr. Dooley regarding VNB, shortfall
issues and 12/17 call.

Continued emails with Mr. Dooley, begin review
of materials from Swift Air C. 11 in
preparation for 12/17 call.

Continued review of Swift Air issues and
materials in preparation for 12/17 conference
call.

Lengthy call from Mssrs. Dooley, Welch
regarding Swift Air case and implications for
our case (.6); review underlying materials
regarding Swift Air (.3).

Emails with group counsel, Attorney Sternklar
regarding VNB agreement, issues (.2), related
call, emails from creditors regarding VNB
issues (2x) (.3).

Review memoranda and materials to prepare for
call with advisors in Swift Air case (.3);
telephone call with Trustee and advisors
regarding similarities in Swift Air and Direct
Air bankruptcy cases (.5).

Review memoranda regarding status of Valley
National Bank agreement.

Inventory box of corporate documents.

Multiple emails with group counsel, Attorney
Sternklar regarding VNB agreement.

Continued emails with Attorney Sternklar, group
counsel regarding VNB agreement, 12/21 call.
Review agreement revisions and open issues in
preparation for conference call (.3),
participate in same (group counsel, Attorneys
Sternklar and Haworth) (.6), follow up emails
regarding open issues (.3).

Calls and emails with Agent Italia regarding
VNB investigation and negotiations.

Emails with counsel group regarding notice,
indemnification issues and VNB agreement (.4);
related email to Agent Italia (.2).

Multiple emails with counsel group regarding
open VNB issues, next steps.

Continued attention to open VNB issues and

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Direct Air (Southern Sky Air & Tours, LLC)

chargeback information gaps, steps to address,
and related calls, emails and conference call
with Attorneys Reier, Gurfein.

Review memoranda regarding agreement status and
2004 authority for claim information
production.

Emails with Attorneys Reier, Gurfein and review
credit card/chargeback information regarding
VNB agreement, reconciliation.

Review chargeback information from credit card
companies and implications for VNB agreement
(.6); lengthy conference call with Attorneys
Reier, Gurfein and Brock and related follow-up
emails, planning strategies for 1/14 call with
VNB (.8)

Review additional materials regarding VNB,
chargeback claim reconciliation and related
issues, strategies for 1/14 conference call.
Further review of claim reconciliation issues
and materials in preparation for VNB conference
call (.6), participate in same (.6).

Review multiple memoranda regarding claim
reconciliation and agreement status; review
emails between Attorney Stotter and Verdolino
and Lowey regarding production of electronic
records. .

Follow up regarding document request status.
Emails with VNB counsel, group counsel
regarding turnover agreement.

Email Attorney Sternklar, group counsel
regarding VNB agreement, next steps.

Review memoranda regarding status of Agreement,
including notice and Department of
Transportation issues.

Call with Attorney Brock regarding notice, DOT
issues (.3), review and comment on same (.2);
review open issues, VNB emails regarding
agreement, claim issues (.3).

Review memoranda regarding claim analysis with
bank information.

Review and assess proposed Notice of Settlement
regarding escrow funds, and related
correspondence.

Review revisions to stipulation, proposed

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notice, and emails with group counsel,
Attorneys Haworth and Sternklar regarding
notice, service and claim issues.

Review memoranda regarding method for notice to
claimants.

Review memorandum from Valley National Bank
counsel regarding notice requirements.

Review memorandum from VNB counsel regarding
notice requirements.

Conference with Attorney Sternklar regarding
VNB agreement (.1); review notice and claim
issues (.2).

Preparation for conference call with Attorneys
Broch, Reier and Gurfein regarding notice,
approval issues and DOT requirements regarding
VNB agreement (.9); participate in call (.8);
follow up review of issues and materials (.3).
Telephone conference with Trustee regarding
notice strategy for turnover of VNB funds.
Review revised forms of VNB stipulation, order
and proposed notice and convey comments to
group counsel (1.1); emails with Attorney Reier
regarding approval motion, open notice issues
(.3).

Emails with Attorney Haworth (.2), review DOT
website (.2) regarding notice, posting issues.
Review and comment on further drafts of
agreement, notice, orders and first draft of
approval motion, and related emails with
Attorneys Reier, Gurfein and Brock.

Review memoranda regarding status of Agreement
package. :

Multiple emails with Attorney Handel (DOT),
group counsel regarding settlement pleadings,
notice issues and DOT notice.

Continued review of open VNB agreement, notice
and approval motion issues and related emails
with group counsel.

Review multiple messages between Trustee and
relevant parties regarding Stipulation and
Motion.

Continued attention to open VNB issues
including settlement and notice issues, DOT
posting, and related emails with Attorneys

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Joseph H. Baldiga, Chapter 7 Trustee
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Reier, Handel.

Forward service list in word format to D. Reier
via electronic mail in connection with VNB
settlement.

Emails with Attorney Reier regarding limited
notice list; attend to providing appropriate
requested list; memorandum to Trustee regarding
service list format.

Continued attention to VNB, DOT issues and
strategies and related agreement, notice issues
and related emails with group and opposing
counsel and Attorney Handel.

Review multiple memoranda regarding notice on
DOT website.

Final review of notice, agreement approval
motion and related exhibits with group counsel,
VNB counsel and Attorney Handel (DOT).

Review memoranda regarding notice on Department
of Transportation site.

Meet with team to discuss open VNB settlement
terms and next steps in investigation (.3);
emails with Attorney Reier regarding same (.2).
Continued emails with counsel group, Attorneys
Hendel and Haworth, and review final version of
pleadings, notice and related DOT issues.
Review multiple emails finalizing agreement
regarding turnover of funds.

Continued emails with Attorneys Hendel, Reier
regarding VNB issues.

Continued review of revised VNB pleadings, and
related emails with Attorneys Reier, Handel
regarding same and notice issues.

Review multiple memoranda regarding finalized
Stipulation.

Final review of revised pleadings and related
emails with Attorneys Reier and Handel
regarding notice issues.

Emails with Attorney Reier regarding agreement,
notice issues.

Emails with Mr. Italia regarding VNB, shortfall
issues (.2); chart out investigation issues
(.2).

Continue review of stipulation between trustee
and Platte River Insurance Company and motion

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Joseph H. Baldiga,

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Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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regarding turnover of VNB account in connection
with claim reconciliation; review information
provided by AMEX charge backs and claims
asserted against Platte River bond;
correspondence regarding all; develop strategy
for reconciliation of claims for trustee’s
review; discuss strategy/process of best way to
track data and maintain multiple databases.
Review correspondence between Trustee and
Department of Transportation regarding
investigation.

Emails with Attorney Reier, Haworth regarding
notice issues (.2); lengthy call from Attorney
Brock regarding next steps in investigation
(.6).

Further emails with Attorney Brock (.2), begin
compilation on investigation materials (.6).
Emails with Attorney Reier regarding hearing,
notice issues.

Review Court’s Order scheduling hearing on
Settlement Agreement and track same.

Emails with Attorney Brock regarding
investigation, transcripts.

Review memoranda regarding 341 meeting
transcript and investigation.

Review memoranda between Trustee and Special
Counsel regarding matter status.

Review case materials, Creditors’ Meeting
transcript for investigation parameters, next
steps. ,
Further review of open investigation issues and
devise next steps.

Emails with Attorneys, Handel, Gurfein, Brock,
Mc Gee and Mr. Italia regarding investigation
issues, Creditors’ Meeting transcript.

Review memorandum from Trustee regarding 341
Transcript and next steps.

Develop initial plan for reviewing materials.
Multiple emails with Attorney Handel (.2),
review of additional case materials (.3)
regarding investigation issues.

Emails with Attorney Handel, Mr. Jalbert
regarding investigation and accounting issues.
Revise 2004 exam supplemental motion and notice

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14190 Direct Air (Southern Sky Air & Tours, LUC)

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motion (.3); continue review of case materials
for investigation (.2).

Emails with Attorney Reier regarding issues for
4/10 hearing.

Emails with Attorneys Reier, Brock regarding
issues for 4/10 hearing.

Conference with Attorney McGee (.1), review
issues (.2) for 4/10 hearing.

Consider next steps in investigation planning.
Preparation for 4/10 hearing and related emails
with Attorneys Reier, Brock, review of VNB
response.

Preparation for, participation in hearing on
VNB notice motion (1.8); follow up review of
revised order, next steps in investigation
(.2).

Review notice, order, next steps in approval
investigation.

Review Court’s order regarding notice to
customers regarding Valley National Bank
settlement and calendar new hearing date.
Emails regarding privilege, investigation
issues and strategies.

Review email from Trustee regarding receipt of
funds (.1); attention to settlement approval
logistics, including notice issues and
compiling relevant materials (.4).

Review consumer responses to Valley National
Bank notice.

Multiple claimant calls, emails regarding VNB
agreement.

Emails with Attorneys Reier, Brock and Gurfein
regarding notice, objection issues.

Memoranda with Trustee regarding claimant
objections to Valley National Bank notice.
Multiple emails with Attorney Reier regarding
settlement, claimant objections and response
strategies (.3), review related claim issues
and materials (.3).

Plan for coverage of 6/5 hearing on Valley
National Bank claims.

Review emails with Department of Transportation
counsel regarding chargebacks and consumer
objections (.1); review emails with special

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14190 Direct Air (Southern Sky Air & Tours, LLC)

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counsel regarding consumer objections (.1).
Preparation for (.3), participate in conference
call with Attorney Reier regarding VNB
settlement, objections and related claim issues
(.5); formulate strategies regarding shortfall
investigation (.4).

Review basic issues with underfunded escrow
account balances; review plan to investigate
cause of underfunded.

Review memoranda regarding debit card
claimants.

Plan for investigation.

Plan for call (.2) and telephone call with
Attorney Reier (.5) regarding calculation of
claimants’ claims; follow up regarding same
(.2).

Emails with Attorney Boyd regarding UNB, IRS
issues.

Review emails between Attorney Reier and
Department of Transportation counsel regarding
debit card chargebacks.

Review updates from Attorney Reier regarding
responses to objecting callers, including chart
of responses.

Begin to review Direct Air bankruptcy docket.
Review and strategy regarding criminal
investigations into Direct Air operations with
K. Pickering; and review K. Pickering’s notes /
paperwork on the same.

Review 341 meeting transcript and develop sale
chart and timeline of events for litigation
planning.

Review voluminous case files and pleadings in
anticipation of litigation planning, and update
charts and timelines to reflect.

Exchange emails with Attorney Reier regarding
Department of Transportation notice to
passengers (.2); telephone call with Attorney
Reier and Trustee regarding claims analysis, in
preparation for 6/5 hearing (.5); email Platte
River Stipulation to Attorney Reier (.1).
Review Motion to Conduct 2004 Examinations and
other motions in the bankruptcy.

Review memorandum regarding status of 2004

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14190 Direct Air (Southern Sky Air & Tours, LLC)

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Motion (.1); assist with litigation
preparations (.1).

Review email from Attorney Reier regarding
Platte River funds as source of consumer
recovery (.1); follow up regarding 6/5 hearing
on consumer notice (.1). ‘
Emails with Attorney Reier regarding settlement
issues, claim implications.

Continued review and analysis of factual
allegations in trustee and other parties’
motions in Direct Air bankruptcy.

Review emails between Trustee and Attorney
Reier regarding claim issues (.1); review
JetPay claim against Platte River and
associated responses (.1).

Review multiple notes files and update charts
and timelines to reflect such information, for
litigation planning.

Review and revise timeline and theories chart
(.2); review updated Parties list (.1); create
list of potential causes of action (.6); confer
with Trustee regarding litigation planning
(.1).

Review of file materials for shortfall
investigation and revise related issues, party
lists.

Confer with Trustee and litigation team
regarding litigation planning and preliminary
document review.

Review Merrick draft Rule 2004 motion and craft
response.

Review Trustee’s additional notes and files and
update charts and timelines to reflect, for
investigation.

Review email summary of consumer claims
analysis and response from Trustee regarding
same.

Further review proposed Merrick 2004 motion and
implications for investigation (.8), related
call and email with Attorney Reier (.2), and
emails with Merrick counsel (.2).

Strategy planning regarding depositions/outline
of scope (.2).

Review Merrick Motion for Authority to Conduct

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Chapter 7 Trustee

Air (Southern Sky Air & Tours, LLC)

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2004 Examinations; identify concerns with
Merrick’s Motion for Contemporaneous 2004
Examinations and shortfall investigation.
Begin to review 2004 Examination rules and
procedures.

Begin to strategize regarding potential claims
related to shortfall of funds; begin to
identify legal elements of potential claims.
Prepare materials for 6/5 hearing.

Review emails regarding Merrick’s draft 2004
Motion and Trustee’s assessment of same (.1);
review and assess Merrick’s draft 2004 Motion
(.3) and email Trustee outlining additional
comments (.1); confer with litigation team
regarding 2004 Motion (.1); review email from
Attorney Reier with his assessment of Merrick’s
2004 Motion (.1); review emails between Trustee
and Attorney Brock regarding Trustee’s comments
on 2004 Motion (.1).

Review cases and court decisions related to
charter carriers to determine applicability to
Direct Air situation (.3); continue reviewing
Trustee’s notes and files in anticipation of
Investigation, and update charts and timelines
in connection with same (2.8).

Prepare for call and telephone call with
Attorney Reier regarding Response to Consumer
Objections and hearing preparation.

Convey comments to Merrick Rule 2004 motion,
and related call, emails with Merrick counsel
(.8); consult with litigation team regarding
investigation strategies (.3).

Review proposed changes to Merrick’s Rule 2004
Examination Motion.

Attention to file and records review (.2);
various edits to charts and timeline (.5);
review additional notes and memoranda from
Trustee and update charts and timeline to
reflect (.4); review case decisions related to
Valley National Bank and banking and

extrapolate from same for Possible Causes of

Action chart (.5); review Public Charter
Depository Agreements and include in timeline
(.2); review Direct Air corporate materials

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14190 Direct Air (Southern Sky Air & Tours, LLC)

(promissory notes, contracts with vendors,
etc.) and update charts and timeline to reflect
same (2.3); confer with Trustee about status of
investigation planning and next steps regarding
same (.2).

05/16/13 goneil 0001 Review Trustee’s email to Attorney Brock 0.10 24.

summarizing comments of Merrick’s 2004 Motion.

05/17/13 JHB 0001 Convey revisions to second revised Merrick 2004 0.60 231.

motion to Attorney Gurfein, Brock (.3);
coordination, issues and document review for
5/22 meeting, conference call (.3).

05/17/13 goneil. 0001 Emails with Trustee and Merrick group regarding 0.50 122.

revisions to 2004 Motion (.2); review revised
2004 Motion, check docket to vet accuracy of
new paragraph, and email group with additional
changes based on same (.3).

05/17/13 goneil 0001 Compile documents for litigation team’s 1.80 441,

background review (.6); edit Causes of Action,
Sale Transaction, and Timeline documents (.6);
email charts and timeline documents to

litigation team with summary of contents (.6).

05/20/13 JHB 0001 Continue review of documents and issues for 1.10 423
investigation and revise related charts.
05/20/13 goneil 0001 Plan for litigation meeting (.2); email 0.70 171

litigation team with Rule 2004 Motion (.1);
additional memoranda regarding litigation
meeting planning (.1); prepare for call with
Trustee regarding investigation charts (.1);
compile and email summary documents to
litigation team (.2).

05/20/13 goneil 0001 Review emails from Trustee regarding status 0.10 24
updates.

05/21/13 JOM 0001 Review documents to prepare for strategy 2.30 920.
conference.

05/21/13 JHB 0001 Continued preparation for 5/22 conference call 0.70 269,

with litigation, Merrick counsel (.5), review
revised 2004 motion by Merrick (.2).

05/21/13 jemurphy 0001 Begin to review scope of Direct Air documents 0.70 171.

in trustee’s possession and extent of
accountant’s review of the same.

05/21/13 goneil oooL1 Review Merrick’s final 2004 Motion. 0.10 24.
05/21/13 goneil o00L Prepare for meeting (.2) and confer with 1.00 245.

Trustee regarding Investigation strategies
(.4); follow up regarding file notes and

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Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

litigation planning (.2); implement Trustee's
edits into charts and timelines (.2).
Investigate pending RICO action v. Stukes,
Conry, Torbert et al. and obtain relevant
documents to aid in Direct Air investigation.
Review and edit Trustee’s Response to Consumer
Objections to Valley National Bank Stipulation
(.6); review Trustee’s suggested edits (.1);
compile edits and create revised, redline
version (.3).

Review documents; conference call with
Accountants, Special Counsel, Merrick Bank
counsel; work on discovery strategy.

Meet with litigation team to prepare for
conference call, and participate in call with
Attorneys Gurfein, Brock and Reier, Mr. Jalbert
and Ms. Bley (1.1), follow up emails regarding
investigation planning (.3); related emails
with Mr. Italia, Attorney Handel (.2).

Meeting with JOM, JHB and GMB regarding
conducting investigation into shortfall and
background facts.

Begin to outline plan for next steps to
interview former employees and investigate
facts of shortfall. ,

Memoranda with C. Jalbert regarding
investigation planning (.2); prepare for and
meet with Trustee and investigation team to
develop initial substantive plan for
investigation (1.3); conference call with
Trustee, investigation team, counsel to
Merrick, and counsel to JetPay regarding
initial investigation planning (.6); additional
strategy with investigation team regarding next
steps (.7); review emails from P. Bley and C.
Jalbert regarding financial records review
(.1); follow-up with Trustee regarding
investigation planning (.1); various memoranda
regarding next steps and VNB document request
(.3); emails and planning related to
interviewing former employees (.3); planning
and memoranda regarding follow-up call with
Merrick group (.2).

Review VNB’s Response to Merrick’s 2004 Motion.

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Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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Review and further edit Response to Consumer
Objections consistent with Trustee’s comments
(.5); review revisions and finalize for
Trustee’s review (.2); implement Trustee’s
final edits and finalize for special counsel
(.3); email Attorney Reier with comments on

. response and explanation of same (.3);

follow-up emails with Attorney Reier (.1).
Create party list for circulation to Merrick
group (.2).

Review previous document requests to Valley
National Bank to identify received and
outstanding materials and email Attorney
Haworth to renew request for certification
(1.0); email P. Bley regarding status of
certifications request (.1).

Work on discovery outline, strategy on VNB
involvement.

Initial analysis of areas of questionable
accounting issue.

Further analysis, document review regarding
investigation, next steps.

Review former management and employees,
identifying persons to be interviewed and
interview logistics; initial strategy regarding
information to obtain from the former
employees.

Initial strategy with JOM regarding claim of
action against VNB and discuss further
investigation of claim of action.

Strategy and planning for employee interviews
and investigation, including review of employee
information; financial records information, and
proposed next steps (1.5); email T. Lowe
regarding preliminary investigation (.3).
Confer with Trustee regarding Party List (.1);
edit same (.1); email Merrick/JetPay group with
Party List and to follow up on next conference
call (.2).
Review and respond to email from T. Lowe to
promote assistance with investigation.

Review Trustee’s final filed Response to
Consumer Objections.

Review and research information on former

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14190 Direct Air (Southern Sky Air & Tours, LLC)

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employees; identify information to obtain in
initial interviews.
Review message from Attorney Brock requesting
information about Attorney Boyd.
Review information on Attorney Boyd and parties
representing.
Communications with M. Baldwin regarding
interview regarding Direct Air operations.
Emails with Trustee and Merrick team regarding
investigation conference call and response to
questions about Reese Boyd (.4); plan for
investigation-related travel (.1).
Review strategies, issues for 6/5 VNB hearing,
and related conference with Attorney Reier.
Review emails about investigation meeting with
M. Baldwin.
Review and consider Department of
Transportation's questions regarding consumer
objections and Trustee’s Response.
Review database to determine claims filed by
Galesburg-Augusta High School and Joely
Richardson in preparation of hearing on VNB
Agreement; report results.
Review and consider Attorney Relier’s response
to Department of Transportation questions about
Consumer Objections (.2); strategize regarding
6/5 hearings (.2).
Emails with Attorney Sternklar, Reier regarding
strategies for 6/5 hearing (.3); related calls
‘and claimants (3x) to address inquiries (.4).
Review scope of and begin to review Direct
Air's financial records; review VNB document
requests and correspondence with VNB’s counsel.
Phone call with P. Bley regarding V&L’s role on
the project and initial planning for financial
analysis; strategy regarding additional
records/information needed for analysis.
Review Objection from consumer group claimant
and Attorney Reier’s response thereto (.1);
seek information about claim for background
(.1); review claim information and email
claimant P. Groetsema with Court’s Order
granting telephonic appearance (.2).
Review past and pending Motions regarding

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Valley National Bank accounts in preparation
for 6/5 hearing, review and cross-check
Consumer Objections received by Trustee against
those referenced in Response, compile materials
for hearing, and otherwise prepare for hearing
on Valley National Bank Agreement.

Review hearing issues and strategies (.2);
follow up on hearing results, and conference
with litigation team on next steps (.2);
related calls and emails with Attorneys
Gurfein, Reier (.3).

Initial communications with M. Baldwin
regarding Direct Air's oppositions.

Further phone call with P. Bley (V&L) regarding
possible theories of fraud and initial plan for
investigation into the Direct Air shortfall.
Review notes/memoranda of possible sources of
fraud; strategy regarding legal theories of
fraud.

Review status of VNB settlement and Court
hearing on the same.

Prepare for hearing (1.0) and attend hearing on
Valley National Bank Stipulation, including
travel to and from Bankruptcy Court,
discussions with Attorney Sternklar and Reier
prior to hearing, and follow-up with claimants
and representative of Attorney General's office
after hearing (2.5); prepare memorandum to
Trustee summarizing hearing (.5).

Review and track Court Order scheduling hearing
on Merrick’s 2004 Motion (.1) and email Trustee
regarding same (.1); review email from Trustee
to litigation team regarding investigation
(.1).

Assist with investigation questions regarding
Valley National Bank bank statements and
address request for JetPay documents.

Document review for G. O'Neil regarding
bankruptcy court hearing; attend bankruptcy
hearing.

Work on strategic issues in
investigation/discovery.

Emails with DOT’s Handel regarding
investigation steps (.2) review same with

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

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litigation team (Attorney Murphy) (.2).
Conference with Attorney O'Neil regarding
parties involved and timing of significant
events in Direct Air’s operations.

Review status of VNB production of documents.
Conference with Attorney Baldiga regarding
cooperation and investigation efforts with
Merrick Bank’s counsel and DOT.

Conference with Attorney Mirick regarding
strategy for investigation and next steps.
Review information on Direct Air online to
identify possible parties to interview;
strategy regarding preservation of online
evidence.

Review multiple emails between counsel
regarding automatic stay and attendant
litigation.

Assist with development of investigation
strategy, including identification of parties
and background materials.

Follow up regarding status of Valley National
Bank document production and email Attorney
Haworth regarding same.

Review emails from Attorney Brock and devise
response strategies (.4); analysis, strategies
regarding next investigation steps (.3).
Begin to research/review online comments
regarding the Family Ties Program.

Begin to review Consent Orders issued against
Direct Air's air carriers.

Review information on 2009 DOT investigation
into Direct Air; attend to obtaining related
documents.

Lengthy telephone call with Attorney Brock
regarding 2004 Motion service list, Raddix
records, attorney-client records, Consent
Orders between Department of Transportation and
other carriers, and other investigation-related
issues (.7); draft memorandum to Trustee and
investigation team summarizing call (.3);
review email from Attorney Brock attaching
Consent Orders (.1); review and send requested
service list document to Attorney Brock (.1);
strategize with investigation team regarding

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

Merrick call and Merrick involvement (.3);
strategize with Trustee regarding same (.1);
assist with response to Attorney Brock
regarding credit card records (.1).

06/12/13 JOM 0001 Work on discovery issues and coordination with 0.40 160.
Merrick Bank. :
06/12/13 JHB 0001 Lengthy call from Attorney Sternklar regarding 0.40 154.

investigation, Merrick 2004 motion.
06/12/13 jemurphy 0001 Phone call with Attorney Haworth regarding 0.40 98
VNB’s delayed production of documents and draft
correspondence to Attorney Haworth regarding
the same.

06/12/13 jemurphy 0001 Phone call with P. Bley (V&L) regarding status 0.80 196.

of review of bank records and early analysis of
that information; correspondence with P. Bley
regarding expected documents from VNB and
analysis of the same.

06/12/13 goneil 0001 Assist with request to Ober Kaler for attorney 0.10 24.
records.
06/13/13 JHB ooo1 Review strategies for record review, Merrick 0.40 154,

information, and related emails from Attorney
Brock; related emails with Mr. Jalbert, Ms.
Bley.

06/13/13 jemurphy 0001 Review Atty Sternklar’s suggestions for 0.20 49.

coordinating shortfall investigation with VNB
and Merrick’s potential liability.

06/13/13 jemurphy 0001 Review Merrick Bank and JetPay’s roles in 2.40 588.

Direct Air operations; initial phone call with
Attorney Rafferty (Ober Kaler); review Direct
Air's counsels’ roles and involvement in
preparation for phone conference with Ober
Kaler; identify questions for Ober Kaler
counsel related to Direct Air’s operations and
the purchase by Avondale.

06/13/13 jemurphy 0001 Initial phone calls to Ober Kaler regarding 0.30 73.

involvement with Direct Air's DOT investigation
and other matters.

06/14/13 JOM 0001 Provide strategic direction to discovery on 0.60 240.

charges in passenger lists.

06/14/13 JHB 0001 Continued attention to investigation issues, 0.90 346.

parameters, and related emails with VLPC,
Merrick counsel (.6); related call with Mr.
Italia for DOT (.3).

06/14/13 chorourk 0001 Review Direct Air Facebook/Twitter pages with 1.00 185.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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respect to Family Ties program comments and
postings.

Review Rules 2004 and 9016 of Federal Rules of
Bankruptcy Procedure; draft subpoenas and
exhibits regarding Ober Kaler Law Firm and Boyd
Goldfinch Law Firm; review and revise all.
Communications with the Trustee and V&L
regarding conference call with Merrick Bank’s
counsel and plan for cooperation in shortfall
investigation; communications with Attorney
Brock regarding strategy meeting.

Phone call with P. Bley (V&L) regarding status
of financial analysis of Direct Air’s records;
strategy regarding potential sources of
shortfall.

Further strategy regarding potential sources of
shortfall, investigate information on Direct
Air owners’ similar airline businesses that
failed.

Attend to preparation of subpoenas for
documents to Direct Air’s former counsel.

Phone call with F. Italia of the DOT regarding
its investigation into Direct Air‘’s operations
and follow up correspondence with F. Italia.
Phone call with counsel at Ober Kaler regarding
its involvement representing Direct Air and
knowledge of shortfall and any wrong doing.
Review email from P. Bley summarizing financial
analysis (.1); assist with investigation
background questions (.3); assist with strategy
regarding next steps for investigation,
including sale and Raddix information (.2).
Emails with Attorney Brock, et. al. regarding
records, investigation issues.

Phone call with Ober Kaler regarding Direct
Air’s tax issues.

Continued review of Consent Orders for Direct
Air’s air carriers; review grounds for the
violations of DOT regulations.

Review investigation issues and status, issues
fo r6/25 Merrick 2004 motion hearing, related
emails from Attorney Brock.

Phone call with F. Italia regarding DOT
investigation into Direct Air; strategy

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Joseph H. Baldiga, Chapter 7 Trustee
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regarding investigation of and cooperation with
DOT.

Begin to investigate DOT Regulations, DOT OST
and OIG, Attorney Boyd, W. Virginia Reservation
Center and Family Ties program.

Communications with Attorney Brock.
Communications with Attorney Hayworth and
Attorney Sternklar regarding VNB’s delayed
production of documents.

Assist with Valley National Bank document
production request, identification of former
employees, and strategy regarding Department of
Transportation investigation involvement.
Strategy planning / discussion / review
regarding discovery response.

Phone call with F. Italia regarding DOT
interviews of former employees and others
involved in Direct Air.

Begin to review VNB’s initial production of
documents; attend to dissemination of the VNB
documents.

Review applicability of fraud theory from
analogous fraud case.

Assist with analysis of subpoena response and
potential ongoing obligations regarding same.
Call with Attorney Reier (.4), Sternklar (.3),
then conference call with Attorney Brock and
Gurfein and J. Murphy (.8) regarding
investigation issues and strategies; follow up
emails, J. Murphy call regarding same (.4).
Prepare for call with Merrick Bank’s counsel.
Preliminary call from Attorney Brock regarding
cooperation between Merrick Bank and Trustee.
Conference call with Attorney Brock, Attorney
Guerfin and Trustee regarding theories of fraud
and plan for cooperation in the investigation
of Direct Air’s shortfall. :
Strategy regarding joint defense privilege and
confidentiality of cooperative investigation
efforts with Merrick Bank's counsel.
Communications with VNB’s counsel regarding its
initial production of documents, sharing the
same and additional documents to be produced.
Phone call with P. Bley (V&L) regarding

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Chapter 7 Trustee

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passenger credit card charges and update on
Radixx system access/records.

Follow up communications with Attorney Guerfin
and Attorney Brock regarding requested credit
card data, Radixx access/documents and VNB’s
production of documents.

Review and respond to emails with Trustee and
special counsel regarding turnover of Valley
National Bank funds (.1); review Stipulation
and Order to confirm terms of turnover (.3);
calculate "final" order date (.1); attend to
payment logistics, including email to Valley
National Bank counsel with wire instructions
and payment request (.3).

Strategize regarding joint defense (with
Merrick) issues.

Review various emails, strategies and
parameters regarding investigation.

Lengthy conference call with Attorney Brock,
Gurfein regarding Merrick 2004 exam motion and
related email to Attorney Sternklar (.5), begin
preparation for 6/25 hearing (.2).

Review email from Attorney Haworth regarding
allocation of disbursements from Valley
National Bank.

Review Merrick’s Reply to Valley National
Bank's Objection to 2004 Motion.

Work on conflict and privilege issues raised by
cooperative investigation with Merrick Bank.
Prepare for, participate in hearing on Merrick
2004 motion, including pre and post conference
with Attorneys Sternklar, Brock (1.6); follow
up emails with litigation team and review
related discovery issues (.4).

Communications with Merrick Bank’s counsel,
VNB‘s counsel and V&L regarding VNB’s
production of documents, credit card data for
passengers and review of the same; discuss
further documents required for financial
analysis.

Further strategy regarding joint defense
privilege between parties cooperating in the
investigation and waiving any future conflict
claims by the same parties; outline joint

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Joseph H. Baldiga, Chapter 7 Trustee
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defense and conflict waiver letters.

Review Trustee’s summary of hearing on 2004
Motion.

Assist with background information related to
Valley National Bank document request.

Edit subpoenas to Direct Air’s former counsel
to obtain records.

Work on waiver letter, joint defense agreement.
Review Haworth, Gurfein emails regarding
investigation issues.

Review and revise conflict agreement with
Merrick Bank.

Revise wavier letter.

Continued review of VNB documents and analyze
VNB's role and responsibility.

Confirm receipt of wire and assist with
direction of funds.

Revise letter agreement regarding conflict
concerns and convey comments.

Revise conflict waiver provision.

Ongoing review of Valley National Bank’s
production of documents.

Edit conflict waiver letter for Merrick Bank,
Jet Pay and American Express.

Follow up with Attorney Haworth regarding
Valley National Bank's production of documents.
Follow up with P. Bley regarding obtaining and
use of passenger credit card data in financial
analysis.

Assist with information for joint defense
agreement. ,

Multiple emails regarding VNB document
production, Merrick disqualification issues,
and strategies to resolve.

Ongoing review of Valley National Bank
documents; strategy and research regarding
potential fraud schemes, sources of the
shortfall and evidence that would support the
same; research other businesses Direct Air
owners were involved with and those business
failures.

Phone call from Attorney Guerfin and Attorney
Brock regarding status of the investigation and
additional theory of fraud regarding the

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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withdrawals from the Valley National Bank
account.

Review information from P. Bley regarding
update on Radixx export/documents.

Assist with background information regarding
Sky King relationship and current bankruptcy.
Online research regarding Reese Boyd, III and
Graft memorandum regarding findings.

Follow up with P. Bley regardig scope of Radixx
export and timing of the same; discuss next
steps in the forensic accounting analysis.
Emails with Attorney Haworth and others
regarding VNB production, and strategies to
address.

Further emails regarding subpoena, discovery
strategies regarding VNB.

Review correspondence from Attorney Haworth;
communications regarding Attorney Haworth’s
comments on VNB’s production of documents;
communications with Merrick’s counsel regarding
documents to request from VNB.

Continue review of VNB production of documents.
Review Rule GE issues and limitations on
cooperation with DOT; communications with F.
Italia regarding the same.

Strategy with Attorney Mirick regarding
conflict waivers, Joint Defense agreements,
cooperation with DOT and delegation of
investigation tasks.

Review Merrick Bank's proposed requests for
documents to VNB.

Review Merrick subpoena materials and related
strategies.

Review document production background
information.

Review and analyze litigations related to
Direct Air (including credit card litigations).
Phone call with P. Bley regarding status of
forensic accounting analysis and Radixx export.
Phone call with Attorney Brock regarding
subpoena to VNB and other issues.

Review, research and organize party
information, including relevant relationships,
dates and activities; begin to review

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14190 Direct Air (Southern Sky Air & Tours, LLC)

acquisition documents and due diligence for
sale.

07/15/13 cbhorourk 0001 Online research regarding "family ties" 2.60 494.00
program, complaints/comments by customers and
former call center employees.

07/16/13 JHB 0001 Meet with litigation team to review 0.30 117.00
investigation issues and strategies, and issues
for 7/17 DOT call.

07/16/13 jemurphy 0001 Phone calls with F. Italia regarding DOT and 0.60 153.00
Trustee cooperation on shortfall investigation.
07/16/13 jemurphy 0001 Strategy with Trustee regarding cooperation 0.40 102.00

with other parties on investigation of facts;
review status of investigation and next steps.

07/16/13 jemurphy 0001 Communications with P. Bley regarding Radixx 0.20 51.00
, export and subpoena to Radixx.
07/16/13 jemurphy 0001 Begin to research/review Family Ties Program 1.20 306.00
details.
07/16/13 jemurphy 0001 Research escrow bank regulations and other 2.00 510.00
regulations on charter airlines. /
07/17/13 JHB 0001 Review materials and issues in preparation for 1.40 546.00

DOT conference call (.6), participate in same
(.6); follow up call with Attorney Reier (.2).
07/17/13 jemurphy 0001 Communications with F. Italia regarding 6¢E 1.20 306.00
list; review details of information to be
shared once on 6E list; conference call with T.
Dougherty, F. Italia’ and the Trustee regarding
DOT/Trustee cooperation and plan for the
investigation.
07/17/13 jemurphy 0001 Review role and scope of DOT and OST; identify - 0.40 102.00
other OIG and OST investigations that may have
relevant information,

07/17/13 jemurphy 0001 Communications with P. Bley regarding subpoena 0.20 51.00
to Radixx and status of export of data.

07/17/13 goneil 0001 Assist with analysis of company claims and 0.40 102.00
sale-related background.

07/18/13 jemurphy 0001 Communications with P. Bley regarding Radixx 0.20 51.00
production of documents.

07/22/13 jemurphy 0001 Continue review of acquisition documents and 2.10 535.50
financial/business activities at the time of
the sale.

07/22/13 jemurphy 0001 Phone call with Attorney Brock regarding status 0.80 204.00

of investigation.
07/23/13 jemurphy 0001 Edits to VNB subpoena; draft correspondence to 0.60 153.00

Attorney Haworth for acceptance of service for
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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

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his client.

Review information on Attorney Boyd and
counsel’s involvement in the Direct Air sale.
Follow up with P. Bley regarding Radixx export
and necessity for subpoena for documents.
Continue review and analysis of. VNB documents.
Continued analysis of VNB's production of
documents, including identifying additional

information to verify VNB records; strategy

regarding evidence of gross negligence.

Phone calls with F. Italia regarding DOT
cooperation with the Trustee.

Review VNB discovery response, strategies to
address.

Review correspondence from Attorney Haworth and
respond regarding subpoena to VNB;
communications with Attorney Brock regarding
the same and defense of document requests from
VNB‘’s anticipated objections.

Research information on charter flight costs
and air carrier escrow accounts/account balance
generally.

Provide advice regarding compelling compliance
with Rule 2004 subpoena.

Communications with P. Bley regarding
confirmation and content of Radixx production.
Emails with Trustee regarding Radixx invoice
for search.

Phone call with F. Italia regarding the scope
of the 6E list; strategy regarding impact on
cooperation with Merrick Bank, Jet Pay and
American Express.

Draft list of documents to be produced by
Attorney Boyd and Ober Kaler for Scheduled A to
Rule 2004 Subpoena.

Work on discovery issues.

Review summary update on investigation
including formal cooperation with Department of
Transportation.

Further edit and draft Exhibit A to Rule 2004
Subpoenas to Attorney Boyd and Ober Kaler;
draft Subpoenas and correspondence to counsel
regarding subpoena response and production of
documents.

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Joseph H. Baldiga, Chapter 7 Trustee
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Update to Trustee on status of shortfall
investigation and next steps.

Communications from/to Attorney Boyd regarding
Rule 2004 Subpoena for Direct Air documents.
Review VNB discovery responses, next steps.
Review open discovery, investigation issues and
strategies and points for 8/13 VLPC conference
call.

Communications with P. Bley regarding status of
financial review and Radixx data.

Review correspondence from Attorney Boyd
regarding response to Rule 2004 Subpoena;
review rules on cost and burden on third party
to produce documents; strategy and draft
response to Attorney Boyd on his response to
Rule 2004 Subpoena.

Phone call from Attorney Brock regarding
subpoenas to Ober Kaler and Attorney Boyd.
Assist with development of litigation strategy
(.2); assist with statute of limitations issues
in bankruptcy context (.2).

Conference call with Ms. Bley and Attorney
Murphy regarding investigation parameters, data
issues (.4); research regarding tolling,
recovery claim issues (.4); review responses
from subpoena recipients and devise reply
strategies (.3).

Review correspondence from Attorney rafferty
regarding Ober Kaler subpoena response.
Conference call with P. Bley regarding status
of financial analysis and next steps; work on
developing queries for Radixx data.

Review and analyze hearing transcript from Jet
Pay’s Motion to Continue/Motion to Convert to
Chapter 7; strategy regarding additional Direct
Air documents to obtain, any funds in process
by Jet Pay at the time of the bankruptcy filing
and credit cards role in Direct Air’s finances.
Phone call with Attorney Boyd regarding Boyd
Law Firm's response to subpoena; initial review
of law regarding trustee’s right to obtain
debtor's records from debtor’s former counsel.
Strategy regarding interview of the Ellisons or
J. Tull.

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Joseph H. Baldiga, Chapter 7 Trustee
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Review summary of Reese Boyd subpoena status
and possible interview of Judy Tull.

Assist with assessment of potential claims
against JetPay for monies that had not made it
into the Valley National Bank account as of
Petition Date (.3); review memorandum with
questions about JetPay funding and Direct Air
records (.1).

Continued attention to document production
issues, demand for administrative claim and
devise response strategies.

Review case law and Collier’s on treatment of
attorneys’ lien/retaining lien on Trustee’s
request for documents; draft correspondence to
Attorney Rafferty regarding the same and
Trustee’s position on the production of
subpoenaed document; review further
correspondence from Attorney Rafferty.

Draft correspondence to Attorney Boyd regarding
production of documents pursuant to Trustee's
subpoena.

Review acquisition documents and other
documents already provided by Ober Kaler;
strategy regarding importance of documents in
Ober Kaler’s possession and reasonable means to
obtain them.

Assist with analysis of Bankruptcy Code
sections on turnover of estate property, in
context of efforts to retrieve law firm ,
records.

Attend to Quickbooks maintenance.

Receipt and review of reply by counsel
regarding turnover of legal file; review
relevant Code Section and case law and draft
memo to Trustee; discussion regarding same.
Further review and analyze case law and
bankruptcy publications on attorney-client
privilege and control of the debtor’s records
after bankruptcy filing.

Emails regarding dispute with former counsel
regarding records.

Communications with P. Bley regarding VNB
daily/monthly account balance detail and
Quickbooks records.

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Draft further correspondence with Attorney
Rafferty regarding Ober kaler’s production of
Direct Air documents to the Trustee.

Phone call with Attorney Brock and Attorney
Guerfin regarding shortfall investigation.
Follow up and provide suggestions on discovery
issues.

Letter from, telephone to AUSA in S. Carolina.
Research IPD issues and assess implication for
recovery claims (.6); research and analysis
regarding Ober document production and
implications of Section 542(e), Weintraub and
assess related claim, privilege issues (1.1);
craft and revise lengthy memo to Attorney
Raftery regarding document production and
grounds for turnover complaint (.5).

Follow up with Attorney Boyd regarding list of
Direct Air documents in firm’s possession.
Phone call with P. Bley regarding financial
analysis.

Review P. Bley’s spreadsheet of VNB
transactions and Raddix data.

Assist with strategy for investigation.
Multiple emails with Attorney Raftery and
related preparation, research regarding
conference call with same (.8); lengthy
conference call with Attorneys Murphy, Raftery
to attempt to resolve turnover dispute and
assess Ober preference exposure in connection
with same (.8), review and comment on revised
stipulation (.2)

Review status of investigation and strategy
regarding next steps.

Edit Stipulation regarding Ober Kaler’s
production of documents; communications with
Attorney Rafferty regarding the same.

Review, analyze and test VNB account balance
data.

Assist with Ober Kaler subpoena issues.

Review correspondence from Attorney Boyd to
Attorney Rafferty regarding former manager's
access to Direct Air’s record to defend against
an IRS tax obligation; analyze access required
by law and Trustee’s response.

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Emails with Attorneys Boyd, Raftery regarding
discovery issues.

Extended correspondence with Attorney Boyd and
Attorney Rafferty and review issues regarding
release of documents to Direct Air’s former
managers and Trustee’s prior approval for such
release.

Review emails regarding Ober Kaler document
request.

Continued attention to document turnover issues
from Boyd, Ober.

Draft Certificate of Custodian regarding Ober
Kaler.

Review 2004 motion; draft motion for entry of
stipulated order by Ober Kaler and
review/revise same.

Attend to preparation of Motion to Approve
Stipulation regarding Ober Kaler’s production
of documents and Affidavit of the Custodian of
Records for Ober Kaler. ,

Follow up with P. Bley regarding shortfall
analysis.

Communications with F, Italia regarding 6E list
and cooperation with the investigation.

Review correspondence from Attorney Rafferty
regarding further conference on Ober Kaler’s
production of documents to former managers;
strategy regarding the same.

Review emails from Ober Kaler counsel and
Attorney Boyd regarding tax document disclosure
issues.

Emails from Attorneys Boyd, Raftery regarding
document production and devise response
strategies.

Phone call with P. Bley regarding Radixx data
and analysis.

Review and begin to analyze financial data from
spreadsheet from P. Bley.

Phone call with Attorney Rafferty regarding
Ober Kaler'’s production of documents pursuant
to subpoena and authorization to produce copies
of Direct Air’s records to former managers.
Phone call with Attorney Boyd regarding
authority to receive copies of Direct Air’s

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documents for former managers; Giscuss Direct
Air’s financial operations generally and
theories for sources of Direct Air's financial
distress.

Assist with Investigation issues, including
questions about mechanics of Valley National
Bank accounts.

Continue review of P. Bley financial data
spreadsheet, including review and analysis of
flight data and revenue, VNB transactions and
cash transactions.

Review status of Fairfield Inn Complaint (.1).
Online research with various Secretary of
States’ Corporations Division regarding
corporate filings of key management team
players; obtain copies of recordings; Begin
research of potential affiliated corporation in
United States.

Continue analysis of flight/revenue data and
VNB account data.

Phone call with P. Bley regarding data
compilation/spreadsheet; discuss additional
financial analysis to be completed.

Further online research regarding corporation
affiliations with respect to various key
individuals associated with Direct Air.
Analyze daily flight certifications, with all
backup, and requests for release of funds from
escrow; analyze evidence of improper escrow
account withdrawals; draft memorandum to
Trustee regarding flight withdrawal requests.
Phone call with Attorney Goerlich regarding
representation of Direct Air as DOT compliance
counsel and any Direct Air documents in
counsel's possession,

Review plan to depose and communications
regarding deposition of M. Baldwin in SunTrust
action.

Review spreadsheet analysis of revenue
collected/withdrawn.

Emails with Attorney Reier regarding
investigation issues.

Review of financial spreadsheet prepared by
Vé&l; communications with P. Bley regarding

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questions on the same.

Review correspondence from Attorney Reier
regarding inquiry on shortfall.

Review status of Investigation and assist with
analysis of flight information discrepancies
(.2); review emails from Attorney Reier
regarding status of Investigation (.1).

Review on improper/undocumented/premature
withdrawals of funds; discuss strategy for next
phase of forensic analysis.

Lengthy call with litigation team to review
investigation process and devise strategies for
next steps.

Outline/review current status of investigation;
strategy regarding next steps; meeting with
Trustee and Attorney Mirick regarding facts
uncovered in investigation, areas of
investigation to pursue and possible causes of
action; strategy regarding next steps.

Phone call with P.Bley regarding financial
analysis of VNB and Radixx data; strategy
regarding further financial analysis of
payments made by Direct Air.

Ongoing review of financial analysis and VNB
documents.

Phone call with Attorney Reier regarding status
of investigation, VNB documents and update on
Jet Pay/Merrick Bank activities.

Follow-up regarding Investigation conference
call and assist with intersection of transfer
action/recovery v. founding members (.4);
assist with Investigation by providing
information about ground handling logistics
(.1).

Ongoing strategy regarding possible causes of
action, including deepening insolvency issues.
Ongoing review and analysis of escrow
transactions and requests for release of escrow
funds to VNB; communications with P. Bley
regarding further analysis of such data.
Prepare for meeting with F. Italia (DOT) to
share investigation resources; meeting with F.
Italia (DOT).

Review objections and deficiencies in VNB’s

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production of documents; follow up with
Attorney Haworth; communications with Attorney
Brock and Attorney Gurfein regarding additional
production of documents/ESI requested.

Review messages with JetPay counsel regarding
Investigation status.

Analysis of VNB, shortfall issues and review
related DOT, contract materials and issues.
Strategy regarding interviews of J. Tull, K.
Ellison and Attorney Boyd and depositions of
the same; review information and attend to
additional information on acquiring
entities/individuals.

Communications with F. Italia (DOT) regarding
cooperation with DOT in investigating Direct
Air and questions regarding DOT regulations.
Provide information on Family Ties program and
claim reimbursement in connection with
Investigation discussions with Department of
Transportation investigator.

Draft subpoena to person most knowledgeable at
Valley National Bank including all topics to be
covered; subpoenaes to Lori Rooney and Robert
Halagarda.

Review and analyze escrow release requests
paperwork. .

Phone calls with Attorneys Gurfein and Attorney
Brock regarding ongoing investigations into
shortfall, Merrick Bank's suit against Direct
Air managers/guarantors; attention to the
deposition schedule.

Review Consent Order entered into between
Department of Transportation and Valley
National Bank.

Emails with Attorney Reier regarding D&O
insurance, VNB issues.

Strategic planning regarding discovery and
issuance of several additional subpoenas.
Attend to preparation of subpoenas for
documents from acquiring entities/individuals
and W. V. Reservation Center; outline documents
to be requested.

Investigate Direct Air’s insurance policies.
Review VNB's additional documents provided in

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response to the 2004 subpoena for documents;
communications with counsel regarding content
of VNB’s additional production.

Preparation for phone call with Jet Pay
regarding Direct Air’s credit card
transactions; phone call with Jet Pay and its
counsel regarding Direct Air's credit card
transactions, operations and financial strength
of Direct Air; analyze information from Jet Pay
on Direct Air’s operations.

Provide known company insurance information and
review status of Investigation, including to
assist with deposition planning.

Review open issues, next steps in shortfall
investigation, examination.

Draft subpoenas to W. Green, H. Torbert, D.
Stukes and reservation call center landlord
with document requests; online research to
obtain mailing addresses.

Review information on Merrick Bank suit against
Direct Air guarantors/founding members.

Review acquisition documents for potential
claims against acquiring entities/individuals
and Direct Air’s financial disclosures at
acquisition; begin to research in pari
delectico defense.

Communications with A. Handel regarding
questions on DOT regulations and escrow
requirements.

Follow up with Attorney Reier regarding Jet
Pay'’s enforcement of rights against Direct Air
guarantors.

Review email summary of Investigation status
and provide assistance with deposition
planning; research Bankruptcy Rules regarding
deposition logistics.

Draft additional subpoenas with document
requests to several former employees.

Review and revise Subpoenas and document
requests.

Phone call with P.Bley regarding information
from Jet Pay and analysis of Direct Air’s
payments from its bank accounts.

Devise strategies regarding depositions,

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interviews and further assessment of shortfall
claims, issues.

Strategy planning / discussion regarding
pending depositions.

Review DOT regulations and escrow contract;
prepare for conference with DOT.

‘Review and analyze list of payees/payments from
Direct Air’s bank accounts; analyze preference
claims and veracity of payees; begin to analyze
patterns of payments.

Communications with Attorney Boyd regarding in
person interviews of J. Tull and K. Ellison;
attend to scheduling the same.

- Assist with payment analysis (.4); review

memoranda about travel and interviews and
assist with planning same (.1).

Outline areas for investigation, Merrick Bank
suits.

Strategies, emails regarding discovery (.3),
assess implications regarding Merrick suits
(.2) and email to Merrick, JetPay and Amex
counsel regarding same (.2).

Strategy planning regarding trial.

Strategy regarding discovery (.6); compile and
review list of deponents (.7); online research
to obtain current address for service of
subpoenas to former management, insiders, new
management and various keepers of records
(1.8); chart same (.7).

Discuss guidelines for deposition fees/mileage
with J. Murphy; review Federal Rules regarding
same.

Communications with P. Bley regarding
payee/payment data.

Communications with Attorney Boyd regarding
interview and Boyd Goldfinch’s production of
Direct Air documents.

Ongoing financial analysis of payments out of
Direct Air; begin strategy regarding fraudulent
transfer/preference complaints against founding
members.

Phone call with American Express’ counsel
regarding shortfall investigation; attend to
scheduling 2004 examinations; communications

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with all counsel regarding the same.

Identify relevant documents not yet collected
and plan additional discovery to obtain as part
of 2004 examinations.

Review Merrick Bank's suit against Direct Air
guarantors.

Review multiple emails regarding scheduling of
depositions and filing of Merrick’s Complaint
v. founders (.3); review Complaint (.1).
Conference call with Attorney Gurfein, Brock
and McGee regarding shortfall investigation
issues and strategies, Merrick complaints and
related issues (.6), meet with litigation team
regarding same (.2).

Plans to interview M. Baldwin.

Plan for interviews of J. Tull and K .Ellison;
plan questions for Attorney Boyd; ongoing
review and analysis of financial actions taken
by J. Tull and K. Ellison.

Preparation for and conference call with the
Trustee, Attorney Gurfein and Attorney McGee
regarding Merrick Bank’s investigation and suit
against the Direct Air guarantors; begin to
discuss deposition schedule and information on
potential deponents.

Assist with planning for meetings with Judy
Tull and K. Ellison,

Further strategies, timing regarding
depositions, interviews.

Continued online research regarding backgrounds
of several deponents in preparation deposition
outlines; incorporate key information into
chart.

Draft outline of topics to be discussed at J.
Tull and K. Ellison’s interview; communications
with Attorney Boyd regarding the same.

Phone call with Attorney Brock regarding status
of investigation and next steps; phone call
with P. Bley regarding status of financial
analysis.

Meet with litigation team to review DOT, VNB
issues and implications and review related
materials.

Prepare for call with DOT’s regulatory

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14190 Direct Air (Southern Sky Air & Tours, LLC)

09/20/13 jemurphy 0001 Investigate background and experience of VNB .40 102.
employees handling escrow accounts/Direct Air
accounts.

09/20/13 jemurphy 0001 Phone call with Attorney M. Aieta regarding .60 153
VNB's response to subpoena and deposition of
VNB. .

09/20/13 jemurphy 0001 Outline topics to cover in J. Tull and K. .40 612.

, Ellison interview; identify and begin to draft

interview/deposition questions for all founding
members.

09/20/13 goneil 0001 Assist with strategy for Valley National Bank .40 102.
and founders’ depositions and possible
outcomes.

09/22/13 chorourk 0001 Begin drafting several (23) deposition .80 342.
subpoenas.

09/23/13 jemurphy 0001 Prepare questions for interviews of J. Tull, K. .00 255.

, Ellison and M. Baldwin.

09/24/13 RBG 0001 Strategy planning regarding sale motion. .10 37.

09/24/13 RBG 0001 Strategy planning regarding employee .20 75.
interviews.

09/24/13 RBG 0001 Strategy planning / discussion regarding sale .20 75.
motion / logistics of same.

09/24/13 cbhorourk 0001 Continue to chart deposition schedule of 23 .30 817.
deponents and respective counsel; coordinate ‘
deposition locations; obtain contact
information and begin drafting subpoenas.

09/24/13 jemurphy 0001 Review and strategy regarding response to .20 51.
correspondence from Attorney Rafferty regarding
Ober Kaler’s preferences and attorneys’ lien.

09/24/13 jemurphy 0001 Review articles on Direct Air operations and .50 127.
prior airline experience of J. Tull and K.
Ellison.

09/24/13 jemurphy 0001 Ongoing review of documents regarding escrow .40 357.
release requests and analysis of Direct Air’s
financial information.

09/24/13 jemurphy 0001 Communications with Attorney O'Neil regarding .50 127.

attorneys and forward documents to discuss;
conference call with DOT attorneys and A.
Handel; follow up with questions on VNB’s
standing as a national escrow bank; review
DOT’s Public Guidance and Consent Orders
related to Direct Air, public charter
operations and escrow banks.

insider analysis and information to obtain from

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Joseph H. Baldiga, Chapter 7 Trustee
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interview with J. Tull and K. Ellison;
communications with P. Bley regarding questions
on financial information to ask J. Tull and K.
Ellison.

Prepare questions and documents to review in
interview with J. Tull and K. Ellison.

Assist with development of questions for
interviews with J. Tull and K. Ellison.

Revise and continue to draft deposition
subpoenas; online research regarding potential
assets of founding five key players; obtain and
analyze Accurint reports.

Travel to/from Boston to Myrtle Beach for
interview with J. Tull and K. Ellison; extended
interview with J. Tull and K. Ellison;
discussion with Attorney Boyd regarding
counsel’s production of Direct Air documents;
review and initial assessment of J. Tull and K.
Ellison interviews.

Strategy planning regarding issue of detriment
analysis under sale rule.

Strategy planning / discussion regarding
potential claims against bank and new company.
Initial review of information from interview
with J. Tull and K. Ellison; ongoing strategy
regarding causes of action; strategy and
develop next steps for investigation, including
additional collection of documents, interviews
and depositions.

Follow-up regarding interviews with J. Tull and
K. Ellison and consider impact and results of
same.

Assist with assessment of Ober Kaler issues.
Call from Attorney Gurfein regarding shortfall
investigation, Merrick suit and service.

Review deposition, investigation strategies,
results with Attorney Murphy.

Strategic planning with Attorney Murphy
regarding discovery; draft subpoenas with
requests for production of documents to Kay
Ellison, Marshall Ellison, Judy Tull and to
JetPay.

Update Trustee on status of investigation and
interview of J. Tull and K. Ellison.

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Phone call with Attorney Rafferty regarding
interview with B. Keilman and Ober Kaler’s
production of documents.

Review information from Attorney Gurfein on
Merrick Bank's actions; conference call with
Attorney Gurfein regarding J. Tull and K.
Ellison interview and possible claims.
Identify documents to be requested from J. Tull
and K. Ellison; attend to preparation of
subpoenas for the same; review deposition list;
strategy regarding location of and background
information on each of the deponents.

Initial review of financial analysis on
September 11th fee and payment from Direct Air
accounts to business and individual payees.
Follow up with Attorney Boyd regarding
production of Direct Air documents at Boyd
Goldfinch, deposition dates and introduction
to/interview with the Yari’s regarding first
proposed acquisition of Direct Air.

Follow up with F. Italia regarding sharing
information regarding Direct Air investigation
with the DOT.

Review investigation update from Attorney
Murphy and related deposition, interview
strategies.

Online research regarding assets and background
of Kay and Marshall Ellison (1.8), Bob Keilman
(1.5) and Hank Torbert (1.1); discussions with
Attorney Murphy regarding strategy (.6).
Communications with F. Italia regarding
cooperation with DOT; follow up with A. Handel
regarding DOT Charter Regulations.

Ongoing document review and factual
investigation into potential fraudulent
transfers by Direct Air.

Communications with Attorney Aieto regarding
VNB documents and deposition date; discussion
of potential claims against VNB.

Review of all payments made by Direct Air;
establish criteria for further review of
payees/transactions.

Phone call from Attorney Brock regarding
Merrick Bank and Trustee’s current

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Joseph H. Baldiga, Chapter 7 Trustee
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investigation efforts and next steps.

Assist with analysis and strategy regarding
claims against insiders, claims against buyer
entities, and format of status report.
Continued online research regarding background
of Judy Tull (1.2) and The Ellisons (1.7).
Further communications with Attorney Aieto
regarding VNB’s production of documents and
certain financial records of Direct Air and
former managers.

Review personal financial statement for the
Ellisons; attend to verification and present
status of the listed assets.

Ongoing review of VNB documents.

Investigate West Virginia Reservation Center.
Edit Stipulation regarding Ober Kaler’s
production of documents and subpoena response;
communications with Attorney Rafferty regarding
the same.

Assist with background information regarding
founders’ ownership of assets.

Continued strategizing with Attorney Murphy
regarding investigation process, potential
claims, document production.

Communications with-Attorney Boyd regarding
K./M. Ellison and J. Tull’s depositions.
Review information from Attorney Boyd regarding
J. Conry'’s mansion.

Further scrutiny of liability disclosure as
part of the Avondale acquisition; preparation
for interview with B. Keilman; review Direct
Air's financial documents and documents
executed/drafted by B. Keilman.

Phone call with P. Bley regarding
veracity/source of Radixx and QuickBooks data
and conclusions that can be drawn from the
data.

Assist with Massachusetts Bankruptcy Court
formatting of Stipulation with Ober Kaler for
production of documents.

Review emails regarding negotiations for Ober
Kaler files and Stipulation terms regarding
same. ,

Further preparation for B. Keilman interview.

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14190 Direct Air (Southern Sky Air & Tours, LLC)

10/04/13 jemurphy 0001 Continued analysis of possible claims to be .10 280.
asserted regarding escrow shortfall and Direct
Air's deepening insolvency.
10/04/13 jemurphy 0001 Interview call with R. Keilman and Attorney .60 408.
Rafferty.
10/04/13 jemurphy 0001 Follow up with Attorney Aieto regarding VNB’s -20 51.
production of documents and deposition dates.
10/04/13 goneil 0001 Assist with preparation for interview with Mr. .20 51.
, Keilman.
10/04/13 goneil oooL1 Follow-up regarding interview with R. Keilman. .10 25.
10/07/13 JHB 0001 Assess interview results, strategies for .30 117.
depositions.
10/07/13 jemurphy 0001 Communications with Attorney Haworth, the .80 204,
Trustee and Attorney Aieto regarding VNB’s
subpoena obligations.
10/07/13 jemurphy 0001 Develop and draft deposition topics/questions .40 357.
for VNB depositions.
10/07/13 jemurphy 0001 Strategy regarding Trustee’s options for 20 51.
responding to B. Keilman and Ober Kaler
regarding their respective subpoenas.
10/08/13 JHB 0001 Further analysis, strategies regarding .30 117.
depositions, potential claims.
10/08/13 JHB 0001 Research regarding possible VNB defenses. .30 117.
10/08/13 jemurphy 0001 Review article on Wagoner’s rule in fraudulent .60 153.
transfer cases.
10/08/13 jemurphy 0001 Communications with Radixx to follow up on .30 76.
, answers to questions about access to Direct Air
records; communications with P. Bley regarding
QuickBooks data.
10/08/13 jemurphy 0001 Further draft notes/impressions from J. Tull 50 127.
and K. Ellison interviews. ,
10/08/13 jemurphy 0001 Strategy/planning regarding B. Keilman, .30 76.
including potential claims against him and
facts supporting them.
10/08/13 jemurphy 0001 Phone call with Attorney Aieto re: .30 76.
, technicalities and substance of VNB deposition.
10/09/13 JHB 0001 Review open discovery issues and materials. .30 117.
10/09/13 jemurphy 0001 Communications with Attorney Brock regarding .50 127.
forensic accounting of Direct Air’s records.
10/09/13 jemurphy 0001 Draft VNB deposition notices and topics for .90 484.
30(b) (6) depositions; communications with
Attorney Haworth and Merrick Bank’s counsel
regarding the same.
10/09/13 goneil 0001 Assist with analysis of subrogation and claims .10 25.

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issues in context of Investigation.

Review open issues and response strategies
regarding VNB discovery.

Strategy planning / discussion regarding timing
of asserting claims - res judicata issue.
Review motion regarding trial; strategy
planning regarding motion hearing.

Outline questions for Radixx; communications
with G. Gent regarding Radixx software and
Direct Air’s use of the same; strategy
regarding obtaining and contents of an
affidavit from Radixx regarding the same.
Phone call with E. Warneck regarding Direct Air
operations and interview.

Strategies regarding VNB discovery, documents.
Review and follow up on additional information
from Radixx regarding system capabilities,
tracing and complaints by Direct Air.

Review response to VNB subpoena from Attorney
Haworth; develop and draft correspondence to
Attorney Haworth regarding his subpoena
objections; organized Rule 7037 conference.
Assist with planning for Motion to Compel
regarding Valley National Bank depositions
(.1); review local rule regarding discovery
disputes (.1) and prepare memorandum regarding
same (.1).

Emails with litigation team regarding VNB
discovery, strategies.

Review VNB examination issues, strategies.
Strategy planning / discussion regarding bank
depositions and requirements of Person Most
Knowledgeable.

Continued online research regarding Avondale
Aviation, Avondale Ventures, ASI Advisors,
Stukes Atwood, King Williams Aviation, King
Williams Holdings and associated principals;
draft memorandum.

Communications with Attorney Haworth regarding
VNB depositions.

Continue to draft questions and identify
documents to use in question VNB at 2004
Examination; ongoing analysis of VNB’s
documents.

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Review acquiring entities relationships with
each other; review litigation against J. Conry,
D. Stukes and H. Torbert.

Review updates regarding Valley National Bank
depositions.

Review and revise memorandum regarding
corporate entities and associated principals.‘
Phone call from Attorney Rafferty regarding B.
Keilman’s deposition and production of
documents.

Multiple communications with Attorney Rafferty
regarding Ober Kaler’s objection to R. 2004
subpoena.

Review payments made by Direct Air to founding
members and family.

Communications with Attorney Aieto regarding
founders’ depositions and depositions of
acquiring individuals.

Review/research cases on equity/capital
contributions versus partner loans; analyze for
fraudulent transfer on repayment of the above.
Review multiple emails regarding Ober Kaler
document production.

Attention to re-scheduling 2004 Exams for VNB;
edits to Rule 2004 subpoenas and further
correspondence with Attorney Haworth regarding
topics for questioning to VNB.

Review updated spreadsheet with all payments
made by Direct Air; analyze updated insider
payments and possible fraudulent transfer
payments. (1.3)

Strategy regarding and draft Rule 2004
subpoenas and document requests to: Jet Pay, J.
Tull, the Ellisons and B. Keilman; attend to
service of all on counsel. (1.8)

Review issues and strategies for VNB and
insider depositions.

Plan deposition schedule and travel. (.4)
Phone call with Attorney Boyd regarding
production of documents. (.1)

Outline topics for depositions of J. Tull, K.
Bllison and M. Ellison.

Review correspondence from Attorney Rafferty
regarding B. Keilman subpoena deposition; begin

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to review B. Keilman’s documents.

Online research regarding background of Lori
Rooney at Valley National Bank.

Review correspondence from Attorney Rafferty
regarding Bob Keilman’s 2004 Examination.
Review email from Attorney Swafford-Brooks
regarding VNB/Charter Escrow bank questions;
research and review additional DOT comments,
Regulations and Consent Orders regarding Escrow
Banks. (.6)

Assist with deposition strategy.

Work on topics for B. Keilman deposition;
ongoing financial review regarding B. Keilman’s
role.

Outline and continue to draft questions for J,
Tull/K. Ellison and M. Ellison’s depositions.
Review correspondence from Attorney Haworth
with objections to VNB 2004 Examinations;
confer with counsel regarding response to the
same.

Work on J. Tull/K. Ellison 2004 Examination
questions and documents.

Communications with Attorney Boyd regarding
depositions.

Ongoing work on 2004 Examinations/questions.
Review correspondence from Attorney Rafferty
regarding B. Keilman’s production of documents
in response to subpoena and additional
documents to be produced.

Identify documents and information likely held
by E. Warneck and M. Baldwin; draft subpoenas
with document requests to the same; attend to
scheduling their 2004 Examinations;
communications with the deponents regarding
2004 Examinations.

Review waivers, joint defense agreements.
Communications with E. Warneck and counsel
regarding 2004 Exam. and production of
documents.

Prepare for 2004 Examination of J. Tull and K.
Ellison.

Phone call with F. Italia regarding DOT Trustee
cooperation in investigation.

Review correspondence from Attorney Rafferty

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regarding B. Keilman’s production of documents.
Draft/edit Waiver of Potential Conflict and
Joint Defense letters to counsel.

Assist with questions about 2004 exam
standards.

Provide suggestions for deposition
examinations.

Further review of open discovery issues and
strategies (.3); finalize and execute joint
defense, waiver letters (.3).

Follow-up on production of remaining documents
from Jet Pay;' communications with Attorney
Reier regarding the same and initial review of
Jet Pay’s production of documents.
Strategy/preparation for upcoming 2004
Examinations; plans regarding 2004 Examinations
with Attorney Regan.

Communications with P. Bley regarding source of
deficiency figures/Radixx data.

Prepare for review of Direct Air physical
files.

Continued attention to open discovery issues,
strategies.

Review D.A. documents/physical files at V&L;
review financial files with P. Bley and
information contained therein. (7.3)
Communications with counsel regarding Joint
Defense Agreement/Waiver and sharing V&L data.
Work on drafting deposition outline for
upcoming 2004 Examinations.

Assist with questions about investors.
Continued attention to discovery issues and
strategies and review related case materials.
Strategy planning / discussion regarding
depositions and escrow issue acknowledgement.
Continued review of Direct Air documents and
preparation for Myrtle Beach 2004 Examinations.
(3.1)
Communications with counsel regarding
cooperation on investigation; communications
with F. Italia (DOT) regarding the same.

Brief strategy regarding response to B.
Keilman's settlement offer.

Review company documents regarding shortfall.

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Joseph H. Baldiga, Chapter 7 Trustee
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Assist with deposition planning and assessment
of company records.

Review and revise 2004 exam subpoenas to
several entities

Communications with counsel regarding Direct
Air / Jet America memorandum.

Preparation for Rule 2004 Examinations.
Strategy regarding Trustee's response to
Attorney Rafferty’s October 18, 2013 letter
objecting to demand for payment from B.
Keilman.

Communications with Attorney Boyd regarding
production of documents by his firm and his
clients.

Communications with Attorney Regan regarding
Rule 2004 Examination procedure and and topics.
Assist with deposition planning.

Prepare for 2004 Examinations; review Direct
Air documents for use in examinations.

Travel to Myrtle Beach, SC for 2004
examinations; continued review of Direct Air
documents and comparison of various Direct Air
financial documents; continue to prepare for J.
Tull examination.

Final preparation for and conduct Rule 2004
Examination of Jd. Tull.

Additional preparation for K. Ellison’s Rule
2004 Examination.

Final preparation for K. Ellison Rule 2004
Examination.

Rule 2004 Examination of K. Ellison.

Prepare for Rule 2004 Examination of M,
Baldwin.

Draft summary of Rule 2004 Examinations of J.
Tull and K. Ellison.

Prepare for Rule 2004 Examinations of M.
Ellison and E. Warneck; phone call with P. Bley
regarding Direct Air accountings / revenue
information for use in examinations.

Address issue of attendance at Rule 2004
Examinations of M. Baldwin and E. Warneck.
Rule 2004 Examination of M. Ellison.

Rule 2004 Examination of Mary Baldwin.

Review E. Warneck’s documents; prepare for E.

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Joseph H. Baldiga,

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Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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Warneck’s deposition, including communications
with Attorney Chin Feman regarding process of
taking Rule 2004 Examination.

Review summary of first two depositions.
Research who may attend a 2004 exam in context
of Mr. Boyd’s inquiry; memorandum regarding
same.

Review discovery report and Raftery, Boyd
privilege and 2004 exam emails and materials,
assess implications for investigation and
recovery efforts.

Strategy planning regarding claims/discovery;
review memoranda.

Final preparation for and conduct Rule 2004
Examination of E. Warneck.

Communications with Attorney Boyd regarding J.
Tull and the EBllisons’ next steps.
Communications with Attorney Chin Feman
regarding E. Warneck timeline documents; review
documents.

Return Travel from Myrtle Beach, SC.

Confer with Trustee regarding notification of
2004 Exams (.1); research Bankruptcy Rules and
local rules to determine whether a docketed
Notice of 2004 Exam may be required (.3);
confer with Trustee regarding same (.1).
Review summary of remaining depositions.
Review discovery, exam results and issues and
strategies for next round of depositions.
Discussions regarding individual depositions
and pending bank deposition; strategy planning
regarding same.

Review / recap testimony from Rule 2004
Examinations; prepare for VNB and B. Keilman
Rule 2004 Examinations.

Attend to locating deponent for service of Rule
2004 Examination subpoenas.

Follow up regarding deposition information and
strategize regarding next steps and claims
related to same.

Strategy planning/discussion regarding bank
deposition.

Meeting with P. Bley at V&L office in Foxboro
to review Rule 2004 examination testimony and

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Chapter 7 Trustee

Air (Southern Sky Air & Tours, LLC)

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strategize regarding upcoming examinations of
VNB and B. Keilman; review additional Direct
Air documents and e-mails; prepare for VNB and
B. Keilman Rule 2004 Examinations.
Communications with Attorney Regan regarding
preparation for and conducting VNB and B,
Keilman Rule 2004 Examinations.

Continued attention to VNB discovery issues and
strategies.

Strategy planning regarding bank deposition.
Preparation for VNB and B. Keilman 2004
Examination; review L. Rooney affidavit in
Discover Financial Services litigation; travel
to New York for examinations.

Assist with preparation of 2004 Exams of R.
Keilman and Valley National Bank (.2); assist
with questions about deposition confidentiality
in bankruptcy (.1); review emails regarding
confidentiality of 2004 depositions (.1);
review Affidavit of Lori Rooney (VNB) from
similar case (.1).

Emails with Attorney Murphy regarding VNB
examination, next steps and open issues.

Final preparation for and conduct Rule 2004
Examination of VNB/Lori Rooney; recap L. Rooney
testimony.

Prepare for B. Keilman’s 2004 Examination.
Preparation for and conduct B. Keilman Rule
2004 Examination.

Strategy with Merrick Bank’s counsel regarding
testimony from Rule 2004 Examinations and
possible causes of action.

Review summary of Valley National Bank
deposition.

Assist with strategy and follow-up for Mr.
Keilman’s deposition, including to forward
relevant documents and information to deposing
attorneys.

Review and evaluate Rule 2004 Examination
testimony.

Return travel from Rule 2004 Examinations of
VNB / L. Rooney and B. Keilman (NY to MA).
Strategy planning / discussion regarding causes
of action against bank / individuals.

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Recap / review of 2004 examination testimony
and additional evidence / testimony to obtain;
strategy regarding next steps.

Review B. Keilman’s transfer of real estate to
his spouse,

Follow up regarding depositions and strategize
regarding impact of testimony and next steps
for Investigation.

Review open discovery issues, strategies for
investigation, report.

Analysis, strategies regarding inspection,
claim issues, devise strategies for 11/26
conference call.

Strategy regarding production of gathered
documents to other parties.

Begin to review and analyze R. 2004 Examination
transcript of K. Bllison and J. Tull.

Review correspondence from Attorney Rafferty
regarding global settlement offer from B.
Keilman; review additional documents from B.
Keilman documenting loans to Direct Air.
Strategy regarding potential causes of action
based on testimony from R. 2004 examinations;
communications with Merrick Bank’s counsel and
Trustee regarding strategy session.

Analysis of information obtained through
depositions.

Continued attention to investigation issues and
strategies, review underlying examination
issues and materials; emails with litigation
team regarding same (.4); research regarding
possible claims, defenses (.6).

Review status of document production by the
Ellisons and Boyd Goldfinch law firm;
correspondence with Attorney Boyd regarding the
same.

Review request by VNB’s counsel for production
of documents / subpoena materials by the
Trustee to VNB; strategy regarding response to
the same.

Ongoing analysis of Rule 2004 Examination
testimony and potential causes of action.
Review and respond to memoranda regarding 2004
authority and Valley National Bank discovery.

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Review documents; discuss what has been
established through discovery to date, areas
for further investigation, possible causes of
action.

Meet with litigation team to review
investigation process and devise next steps,
assess recovery grounds and claims, and review
underlying materials (.8); further research
regarding jurisdictional, defense issues (.4).
Prepare for and attend conference with Attorney
Mirick and the Trustee regarding information
obtained from Rule 2004 Examinations,
additional work to be completed and likely
causes of action; ongoing analysis of pertinent
evidence and applicable causes of action.
Review additional information on value of B.
Keilman’s property transferred to his wife.
Organize / review documents from 2004 subpoenas
and examinations.

Phone call with P. Bley regarding report on
forensic accounting and Radixx analysis;
verification of shortfall figures with specific
examples.

Discuss continuing investigation strategy.

More analysis of possible causes of action.
Call, emails with Ms. Bley regarding
investigation issues and new information (.3),
meeting with Attorney Murphy regarding
implications, strategies (.3).

Strategy planning regarding wrongdoing in
connection with records.

Continue review of transcripts of J. Tull and
K. Ellison’s 2004 examinations.

Phone call with P. Bley regarding flights with
bookings and cancellations after flights flew;
review documents regarding the same and impact
on possible claims to be asserted by the
trustee.

Review findings regarding fraud and Valley
National Bank certification.

Analysis of results of discussion with opposing
counsel.

Review case issues and materials in preparation
for conference call with litigation team,,

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Joseph H. Baldiga,, Chapter 7 Trustee
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Merrick counsel (.6), participate in same

(1.3); follow-up analysis and document review

(.3).

Preparation for and conduct conference call
with Merrick Bank’s counsel and the Trustee
regarding information on Direct Air operations,
VNB withdrawals and possible causes of action.
Review article on Direct Air owners’ financial
troubles.

Outline and strategy regarding causes of action
and issues raised in call with Merrick Bank's
counsel and Trustee, including additional
information to be gathered regarding acquiring
entities role and liability.

Calls to and conversation with J. Conry; review
initial information from J. Conry regarding his
role with Direct Air and investigate the same.
Review article about founders’ and Avondale’s
past fraud.

Assist with Investigation strategy including
development of questions for Mr. Conry and .-
other Avondale affiliates.
Communications with Attorney Haworth regarding
release of documents in the Trustee’s position
and information regarding the 2004 examination
subpoenas and schedule. ,

Begin to review B. Keilman’s 2004 examination
transcript.

Preparation for J. Conry interview.

Review acquiring and related entities and J.
Conry’s role in the same.

Assist with identification of Avondale Buyer -
related entities.

Review documents from Attorney Boyd's firm.
Review company information for acquiring and
related entities.

Further preparation for interview of J. Conry.
Phone interview with J. Conry; initial review
of information from J. Conry in light of Direct
Air documents and R. 2004 exam testimony.
Assist with preparation for Conry call,
including to provide Chemoil and King Williams
documents as background for interview.

Recap and initial analysis of J. Conry’s

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Joseph H. Baldiga, Chapter 7 Trustee
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interview; attending to obtaining additional
information to verify information from J.
Conry.

Begin to outline draft fact section of
investigation report on shortfall.
Communications with Attorney Boyd regarding
further interview with J. Tull and K. Ellison.
Communications with J. Conry and H. Torbert
regarding Direct Air documents.

Telephone call with Y. Howard of Progressive
Funding Solutions regarding its work for Direct
Air and W. Greene; review preference claim
against PFS and strategize regarding next
steps.

Provide information about previous Debtor
representatives.

Attention to status of discovery.

Continued review of Boyd Goldfinch’s Direct Air
documents; begin review of K. Ellison document
production; attend to reproducing the Trustee’s
Direct Air documents.

Telephone call with H. Torbert regarding
interview regarding Direct Air operations and
the shortfall; communications with his counsel
regarding interviews.

Draft correspondence to Y. Howard (Progressive
Funding Solutions) regarding interview with W.
Greene and status of preference complaint.
Begin to outline affidavit of J. Convry for his
execution based on interview statements; draft
memorandum to Attorney Regan regarding J.
Convry interview highlights and upcoming H.
Torbert interview.

Review summary memorandum regarding Conry
interview.

Continue to develop and draft facts for
investigation report.

Begin to research in pari delicto defense
applied to bankruptcy cases.

Review W. Greene affidavit prepared for DOT’s
investigation of the cessation of service.
Telephone conversation with P. Bley regarding
causes/explanations for shortfall in the escrow
account; review data and documents regarding

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